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                         UNITED STATES COURT OF APPEALS FOR THE SECOND CIRCUIT
                             CIVIL APPEAL PRE-ARGUMENT STATEMENT (FORM C)

       1. SEE NOTICE ON REVERSE                           2. PLEASE TYPE OR PRINT                      3. STAPLE ALL ADDITIONAL PAGES

 Case Caption:                                                           District Court or Agency:                 Judge:

 Shatsky v. Palestine Liberation Organization                            SDNY                                     Mary Kay Vyskocil
                                                                         Date the Order or Judgment Appealed       District Court Docket No.:
                                                                         from was Entered on the Docket:
                                                                                                                  18 Civ. 12355
                                                                         March 21, 2022
                                                                         Date the Notice of Appeal was Filed:      Is this a Cross Appeal?

                                                                         May 20, 2022                              9 Yes          ✔9 No


 Attorney(s) for        Counsel’s Name:               Address:                 Telephone No.:                   Fax No.:                  E-mail:
 Appellant(s):
                        Benjamin H. Torrance, U.S. Attorney's Office, SDNY
 9 Plaintiff
                        86 Chambers St., 3rd Floor, New York, NY 10007
 9 Defendant            tel.: 212.637.2703; fax: 212.637.2702; benjamin.torrance@usdoj.gov
 Intervenor
 Attorney(s) for        Counsel’s Name:               Address:                 Telephone No.:                   Fax No.:                  E-mail:
 Appellee(s):
                        Gassan A. Baloul, Squire Patton Boggs (US) LLP
 9 Plaintiff
                        2550 M Street, NW, Washington, DC 20037
 9 Defendant
 ✔                      tel.: 202.457.6155; gassan.baloul@squirepb.com


 Has Transcript         Approx. Number of         Number of           Has this matter been before this Circuit previously?    9 Yes          ✔
                                                                                                                                             9 No
 Been Prepared?         Transcript                Exhibits
                        Pages:                    Appended to         If Yes, provide the following:
 n/a                                              Transcript:
                        n/a                                           Case Name:
                                                n/a
                                                                      2d Cir. Docket No.:                Reporter Citation: (i.e., F.3d or Fed. App.)


  ADDENDUM “A”: COUNSEL MUST ATTACH TO THIS FORM: (1) A BRIEF, BUT NOT PERFUNCTORY, DESCRIPTION OF THE
   NATURE OF THE ACTION; (2) THE RESULT BELOW; (3) A COPY OF THE NOTICE OF APPEAL AND A CURRENT COPY OF
  THE LOWER COURT DOCKET SHEET; AND (4) A COPY OF ALL RELEVANT OPINIONS/ORDERS FORMING THE BASIS FOR
          THIS APPEAL, INCLUDING TRANSCRIPTS OF ORDERS ISSUED FROM THE BENCH OR IN CHAMBERS.

  ADDENDUM “B”: COUNSEL MUST ATTACH TO THIS FORM A LIST OF THE ISSUES PROPOSED TO BE RAISED ON APPEAL,
          AS WELL AS THE APPLICABLE APPELLATE STANDARD OF REVIEW FOR EACH PROPOSED ISSUE.

                                                                PART A: JURISDICTION

                    1 . Federal Jurisdiction                                                2 . Appellate Jurisdiction

   9     U.S. a party               9 Diversity                      ✔
                                                                     9    Final Decision                  9 Order Certified by District Judge (i.e.,
                                                                                                            Fed . R. Civ. P. 54(b))
   9
   ✔     Federal question            9 Other (specify):              9    Interlocutory Decision
        (U.S. not a party)                                                Appealable As of Right          9 Other (specify):



                             IMPORTANT. COMPLETE AND SIGN REVERSE SIDE OF THIS FORM.

FORM C (Rev. October 2016)
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                                       PART B: DISTRICT COURT DISPOSITION (Check as many as apply)


 1. Stage of Proceedings                          2. Type of Judgment/Order Appealed                                            3. Relief

 ✔
 9   Pre-trial                  9 Default judgment                 ✔9 Dismissal/other jurisdiction           9 Damages:
                                                                                                             ✔                                     9 Injunctions:
 9   During trial               9 Dismissal/FRCP 12(b)(1)           9 Dismissal/merit
 9   After trial                  lack of subject matter juris.     9 Judgment / Decision of the Court           Sought: $                         9 Preliminary
                                9 Dismissal/FRCP 12(b)(6)           9 Summary judgment                           Granted: $                        9 Permanent
                                  failure to state a claim          9 Declaratory judgment                       Denied: $                         9 Denied
                                9 Dismissal/28 U.S.C. § 1915(e)(2) 9 Jury verdict
                                  frivolous complaint               9 Judgment NOV
                                9 Dismissal/28 U.S.C. § 1915(e)(2) 9 Directed verdict
                                  other dismissal                   9 Other (specify):



                                                      PART C: NATURE OF SUIT (Check as many as apply)

 1. Federal Statutes                                                                2. Torts                 3. Contracts              4. Prisoner Petitions

   9 Antitrust          9 Communications           9 Freedom of Information Act      9 Admiralty/             9 Admiralty/             9    Civil Rights
   9 Bankruptcy          9 Consumer Protection     9 Immigration                       Maritime                 Maritime               9    Habeas Corpus
   9 Banks/Banking       9 Copyright 9 Patent      9 Labor                           9 Assault /              9 Arbitration            9    Mandamus
   9 Civil Rights       9 Trademark                9 OSHA                              Defamation             9 Commercial             9    Parole
   9 Commerce           9 Election                 9 Securities                      9 FELA                   9 Employment             9    Vacate Sentence
   9 Energy             9 Soc. Security            9 Tax                             9 Products Liability     9 Insurance              9    Other
   9 Commodities        9 Environmental                                              9 Other (Specify):
                                                                                     ✔                        9 Negotiable
  ✔9 Other (specify): Anti-Terrorism Act                                                                      Instruments
                                                                                                              9 Other Specify

 5. Other                                                  6. General                                        7. Will appeal raise constitutional issue(s)?
    9 Hague Int’l Child Custody Conv.                         9 Arbitration                                     9 Yes
                                                                                                                ✔                  9 No
    9 Forfeiture/Penalty                                      9 Attorney Disqualification
    9 Real Property                                           9 Class Action                                    Will appeal raise a matter of first
    9 Treaty (specify):                                       9 Counsel Fees                                    impression?
    9 Other (specify):                                        9 Shareholder Derivative
                                                              9 Transfer                                        ✔
                                                                                                                9 Yes              9 No



 1. Is any matter relative to this appeal still pending below?        9 Yes, specify:                                                   ✔9 No


 2. To your knowledge, is there any case presently pending or about to be brought before this Court or another court or administrative agency
    which:
        (A) Arises from substantially the same case or controversy as this appeal?                      9 Yes                ✔9 No

          (B)       Involves an issue that is substantially similar or related to an issue in this appeal?     9 Yes
                                                                                                               ✔                            9 No

 If yes, state whether 9 “A,” or 9 “B,” or 9 both are applicable, and provide in the spaces below the following information on the other action(s):

 Case Name:                                              Docket No.                Citation:                             Court or Agency:
see attached
 Name of Appellant: United States


 Date: 6 June 2022                                         Signature of Counsel of Record: /s/ Benjamin H. Torrance



                                                                  NOTICE TO COUNSEL
Once you have filed your Notice of Appeal with the District Court or the Tax Court, you have only 14 days in which to complete the following
important steps:
 1. Complete this Civil Appeal Pre-Argument Statement (Form C); serve it upon all parties, and file it with the Clerk of the Second Circuit in accordance
 with LR 25.1.
 2. File the Court of Appeals Transcript Information/Civil Appeal Form (Form D) with the Clerk of the Second Circuit in accordance with LR 25.1.
 3. Pay the$505 docketing fee to the United States District Court or the $500 docketing fee to the United States Tax Court unless you are authorized to
 prosecute the appeal without payment.

          PLEASE NOTE: IF YOU DO NOT COMPLY WITH THESE REQUIREMENTS WITHIN 14 DAYS, YOUR APPEAL WILL BE
          DISMISSED. SEE LOCAL RULE 12.1.

FORM C (Rev. December 2016)
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                    Shatsky v. Palestine Liberation Organization, 22-1138

                     Pending Cases Involving Substantially Similar Issues

1.   Fuld v. Palestine Liberation Organization, Nos. 22-76, 22-496 (2d Cir.), No. 20 Civ. 3374
     (S.D.N.Y.)

2.   Klieman v. Palestinian Authority, No. 04 Civ. 1173 (D.D.C.)

3.   Sokolow v. Palestine Liberation Organization, Nos. 15-3135, 22-1060 (2d Cir.), No. 04
     Civ. 397 (S.D.N.Y.)

4.   Levine v. Palestine Liberation Organization, No. 21 Civ. 3043 (D. Colo.)


                                          Addendum A


1.      A brief, but not perfunctory, description of the nature of the action. Plaintiffs-appellants
brought this action under the Anti-Terrorism Act, alleging that defendants-appellees’ actions and
policies encouraged an act of terrorism that occurred outside the United States and resulted in the
death of plaintiffs’ decedents, U.S. nationals.

2.      The result below. Defendants moved to dismiss this action for lack of personal
jurisdiction, which was invoked by plaintiffs under 18 U.S.C. § 2334(e), as amended by the
Promoting Security and Justice for Victims of Terrorism Act (PSJVTA), a federal statute that
provides that certain activities will be deemed consent to personal jurisdiction in U.S. courts. The
United States, appellant in this appeal, intervened to defend the constitutionality of the PSJVTA.
The district court dismissed the action for lack of personal jurisdiction, concluding that the
PSJVTA is unconstitutional.

3.     A copy of the notice of appeal and a current copy of the lower court docket sheet.
Attached.

4.     A copy of all relevant opinions/orders forming the basis for this appeal. Attached.
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                   Shatsky v. Palestine Liberation Organization, 22-1138

                                         Addendum B


Issues proposed to be raised on appeal, as well as the applicable appellate standard of review
for each proposed issue.


Whether 18 U.S.C. § 2334(e), as amended by the PSJVTA, is constitutional. This issue is to be
reviewed de novo.
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
———————————————————————— x
SHABTAI SCOTT SHATSKY et al.,

                      Plaintiffs,
                                                           18 Civ. 12355 (MKV)
         v.
                                                           Notice of Appeal
PALESTINE LIBERATION ORGANIZATION et al.,

                      Defendants,

UNITED STATES OF AMERICA,

         Intervenor.
———————————————————————— x


     Intervenor the United States appeals to the United States Court of Appeals for
the Second Circuit from the final judgment entered on March 21, 2022.

Dated:        New York, New York               Respectfully submitted,
              May 20, 2022
                                               DAMIAN WILLIAMS
                                               United States Attorney for the
                                               Southern District of New York
                                               Attorney for Intervenor

                                         By:   /s/ Benjamin H. Torrance
                                               BENJAMIN H. TORRANCE
                                               Assistant United States Attorney
                                               86 Chambers Street
                                               New York, New York 10007
                                               Telephone: 212.637.2703
                                               Fax: 212.637.2702
                                               E-mail: benjamin.torrance@usdoj.gov
                                       Case 22-1138, Document 12, 06/06/2022, 3327148, Page6 of 28
                                                                                                                                                                                 CLOSED,APPEAL,CASREF,ECF

                                                                                     U.S. District Court
                                                                         Southern District of New York (Foley Square)
                                                                    CIVIL DOCKET FOR CASE #: 1:18-cv-12355-MKV-DCF


Shatsky et al v. The Palestine Liberation Organization et al                                                                   Date Filed: 12/31/2018
Assigned to: Judge Mary Kay Vyskocil                                                                                           Date Terminated: 03/21/2022
Referred to: Magistrate Judge Debra C. Freeman                                                                                 Jury Demand: Plaintiff
Demand: $9,999,000                                                                                                             Nature of Suit: 890 Other Statutory Actions
Cause: 18:2333 Civil Remedies: Anti-Terrorism Act of 1991                                                                      Jurisdiction: Federal Question


 Date Filed       #    Docket Text
 12/31/2018        1 FILING ERROR - DEFICIENT PLEADING - FILER ERROR - COMPLAINT against THE PALESTINE LIBERATION ORGANIZATION, THE PALESTINIAN AUTHORITY.
                     (Filing Fee $ 400.00, Receipt Number ANYSDC-16119859)Document filed by ZVI THALER, CHANA FRIEDMAN, DAVID RAPHAEL SHATSKY, BELLA FRIEDMAN, EFRAT
                     TRATTNER, JO ANNE SHATSKY, ILAN FRIEDMAN, Shabtai Scott Shatsky, HADASSA DINER, SHELLEY TRATTNER, HILLEL TRATTNER, MIRIAM FRIEDMAN, ZVI
                     FRIEDMAN, MIRIAM SHATSKY, TZIPPORA SHATSKY SCHWARTZ, MICHAEL THALER, ISAAC THALER, RONIT TRATTNER, ARON S TRATTNER, STEVEN BRAUN,
                     GINETTE LANDO THALER, YOSEPH SHATSKY, YEHIEL FREIDMAN, LEOR THALER, YAEL HILLMAN, SARA SHATSKY TZIMMERMAN.(Tolchin, Robert) Modified on
                     1/2/2019 (sj). (Entered: 12/31/2018)
 12/31/2018        2 CIVIL COVER SHEET filed. (Tolchin, Robert) (Entered: 12/31/2018)
 12/31/2018        3 FILING ERROR - DEFICIENT PLEADING - FILER ERROR - REQUEST FOR ISSUANCE OF SUMMONS as to Palestinian Authority, re: 1 Complaint. Document filed by
                     STEVEN BRAUN, HADASSA DINER, YEHIEL FREIDMAN, BELLA FRIEDMAN, CHANA FRIEDMAN, ILAN FRIEDMAN, MIRIAM FRIEDMAN, ZVI FRIEDMAN, YAEL
                     HILLMAN, GINETTE LANDO THALER, DAVID RAPHAEL SHATSKY, JO ANNE SHATSKY, MIRIAM SHATSKY, YOSEPH SHATSKY, TZIPPORA SHATSKY SCHWARTZ,
                     SARA SHATSKY TZIMMERMAN, Shabtai Scott Shatsky, ISAAC THALER, LEOR THALER, MICHAEL THALER, ZVI THALER, ARON S TRATTNER, EFRAT TRATTNER,
                     HILLEL TRATTNER, RONIT TRATTNER, SHELLEY TRATTNER. (Tolchin, Robert) Modified on 1/2/2019 (sj). (Entered: 12/31/2018)
 12/31/2018        4 FILING ERROR - DEFICIENT PLEADING - FILER ERROR - REQUEST FOR ISSUANCE OF SUMMONS as to Palestine Liberation Orgainzation, re: 1 Complaint. Document
                     filed by STEVEN BRAUN, HADASSA DINER, YEHIEL FREIDMAN, BELLA FRIEDMAN, CHANA FRIEDMAN, ILAN FRIEDMAN, MIRIAM FRIEDMAN, ZVI FRIEDMAN,
                     YAEL HILLMAN, GINETTE LANDO THALER, DAVID RAPHAEL SHATSKY, JO ANNE SHATSKY, MIRIAM SHATSKY, YOSEPH SHATSKY, TZIPPORA SHATSKY
                     SCHWARTZ, SARA SHATSKY TZIMMERMAN, Shabtai Scott Shatsky, ISAAC THALER, LEOR THALER, MICHAEL THALER, ZVI THALER, ARON S TRATTNER, EFRAT
                     TRATTNER, HILLEL TRATTNER, RONIT TRATTNER, SHELLEY TRATTNER. (Tolchin, Robert) Modified on 1/2/2019 (sj). (Entered: 12/31/2018)
 12/31/2018        5 FILING ERROR - DEFICIENT PLEADING - FILER ERROR - RELATED CASE AFFIRMATION of Robert J Tolchin re: that this action be filed as related to 18-cv-12213.
                     Document filed by STEVEN BRAUN, HADASSA DINER, YEHIEL FREIDMAN, BELLA FRIEDMAN, CHANA FRIEDMAN, ILAN FRIEDMAN, MIRIAM FRIEDMAN, ZVI
                     FRIEDMAN, YAEL HILLMAN, GINETTE LANDO THALER, DAVID RAPHAEL SHATSKY, JO ANNE SHATSKY, MIRIAM SHATSKY, YOSEPH SHATSKY, TZIPPORA
                     SHATSKY SCHWARTZ, SARA SHATSKY TZIMMERMAN, Shabtai Scott Shatsky, ISAAC THALER, LEOR THALER, MICHAEL THALER, ZVI THALER, ARON S TRATTNER,
                     EFRAT TRATTNER, HILLEL TRATTNER, RONIT TRATTNER, SHELLEY TRATTNER.(Tolchin, Robert) Modified on 1/2/2019 (sj). (Entered: 12/31/2018)
 01/02/2019            ***NOTICE TO ATTORNEY REGARDING PARTY MODIFICATION. Notice to attorney Robert Joseph Tolchin. The party information for the following party/parties has
                       been modified: Steven Braun; Hadassa Diner; Yehiel Friedman; Bella Friedman; Chana Friedman; Ilan Friedman; Miriam Friedman; Zvi Friedman; Yael Hillman; Ginette
                       Lando Thaler; David Raphael Shatsky; Jo Anne Shatsky; Miriam Shatsky; Yoseph Shatsky; Tzippora Shatsky Schwarz; Sara Shatsky Tzimmerman; Shabtai Scott Shatsky;
                       Isaac Thaler; Leor Thaler; Michael Thaler; Zvi Thaler; The Palestine Liberation Organization; The Palestinian Authority; Aron S. Trattner; Efrat Trattner; Hillel Trattner;
                       Ronit Trattner; Shelley Trattner. The information for the party/parties has been modified for the following reason/reasons: party name contained a typographical error; party
                       name was entered in all caps; party text was omitted; alias party type was entered incorrectly. (sj) (Entered: 01/02/2019)
 01/02/2019            ***NOTICE TO ATTORNEY REGARDING DEFICIENT PLEADING. Notice to Attorney Robert Joseph Tolchin to RE-FILE re: Document No. 1 Complaint. The filing is
                       deficient for the following reason(s): all of the parties listed on the pleading were not entered on CM ECF (Shabtai Scott Shatsky, Jo Anne Shatsky, Ginette Lando Thaler and
                       Michael Thaler must be added again in their additional capacity); the wrong filer/filers were selected for the pleading due to party names being modified. Docket the event type
                       Add Party to Pleading found under the event list Complaints and Other Initiating Documents. Re-file the pleading using the event type Complaint found under the event list
                       Complaints and Other Initiating Documents - attach the correct signed PDF - select the individually named filer/filers - select the individually named party/parties the pleading
                       is against. (sj) (Entered: 01/02/2019)
 01/02/2019            ***NOTICE TO ATTORNEY REGARDING CIVIL. CASE OPENING STATISTICAL ERROR CORRECTION: Notice to attorney Robert Joseph Tolchin. The following case
                       opening statistical information was erroneously selected/entered: Cause of Action code 28:1602; Dollar Demand 2,050,000,000; County code Albany. The following correction(s)
                       have been made to your case entry: the Cause of Action code has been modified to 18:2333; the Dollar Demand has been modified to 9,999,000; the County code has been
                       modified to Kings. (sj) (Entered: 01/02/2019)
 01/02/2019            ***NOTICE TO ATTORNEY REGARDING DEFICIENT RELATED CASE STATEMENT. Notice to attorney Robert Joseph Tolchin to RE-FILE Document No. 5 Statement
                       of Relatedness. The filing is deficient for the following reason(s): the wrong filer/filers were selected for the related case statement; party names have been modified to
                       correspond with pleading. Re-file the document using the event type Statement of Relatedness found under the event list Other Documents - select the correct filer - enter the
                       related case number when prompted - and attach the correct PDF. (sj) (Entered: 01/02/2019)
 01/02/2019            ***NOTICE TO ATTORNEY REGARDING DEFICIENT REQUEST FOR ISSUANCE OF SUMMONS. Notice to Attorney Robert Joseph Tolchin to RE-FILE Document
                       No. 3 Request for Issuance of Summons, 4 Request for Issuance of Summons. The filing is deficient for the following reason(s): the PDF attached to the docket entry for the
                       issuance of summons is not correct (clerk of court is incorrect and should not be listed); the form used for the summons is not the official A.O. Summons form; the wrong
                       filer/filers were selected for the request for issuance of summons;. Re-file the document using the event type Request for Issuance of Summons found under the event list
                       Service of Process - select the correct filer/filers - and attach the correct summons form PDF. (sj) (Entered: 01/02/2019)
 01/02/2019            CASE OPENING INITIAL ASSIGNMENT NOTICE: The above-entitled action is assigned to Judge Unassigned. (sj) (Entered: 01/02/2019)
 01/02/2019            Case Designated ECF. (sj) (Entered: 01/02/2019)
 01/02/2019            CASE REFERRED TO Judge George B. Daniels as possibly related to 1:18cv12213. (sj) (Entered: 01/02/2019)
 01/02/2019        6 FILING ERROR - SUMMONS REQUESTED - WRONG EVENT TYPE SELECTED FROM MENU - REQUEST FOR ISSUANCE OF AMENDED SUMMONS as to Palestinan
                     Authority, re: 1 Complaint,,. Document filed by Steven Braun, Hadassa Diner, Bella Friedman, Chana Friedman, Ilan Friedman, Miriam Friedman, Yehiel Friedman, Zvi Friedman, Yael
                     Hillman, Tzippora Shatsky Schwarz, David Raphael Shatsky, Jo Anne Shatsky, Miriam Shatsky, Shabtai Scott Shatsky, Yoseph Shatsky, Ginette Lando Thaler, Isaac Thaler, Leor Thaler,
                     Michael Thaler, Zvi Thaler, Aron S. Trattner, Efrat Trattner, Hillel Trattner, Ronit Trattner, Shelley Trattner, Sara Shatsky Tzimmerman., REQUEST FOR ISSUANCE OF SUMMONS as
                     to Palestinan Authority, re: 1 Complaint,,. Document filed by Steven Braun, Hadassa Diner, Bella Friedman, Chana Friedman, Ilan Friedman, Miriam Friedman, Yehiel Friedman, Zvi
                     Friedman, Yael Hillman, Tzippora Shatsky Schwarz, David Raphael Shatsky, Jo Anne Shatsky, Miriam Shatsky, Shabtai Scott Shatsky, Yoseph Shatsky, Ginette Lando Thaler, Isaac
                     Thaler, Leor Thaler, Michael Thaler, Zvi Thaler, Aron S. Trattner, Efrat Trattner, Hillel Trattner, Ronit Trattner, Shelley Trattner, Sara Shatsky Tzimmerman. (Tolchin, Robert) Modified
                     on 1/4/2019 (pne). (Entered: 01/02/2019)
 01/02/2019        7 REQUEST FOR ISSUANCE OF SUMMONS as to Palestine Liberation Organization, re: 1 Complaint,,. Document filed by Steven Braun, Hadassa Diner, Bella Friedman, Chana
                     Friedman, Ilan Friedman, Miriam Friedman, Yehiel Friedman, Zvi Friedman, Yael Hillman, Tzippora Shatsky Schwarz, David Raphael Shatsky, Jo Anne Shatsky, Miriam Shatsky,
                     Shabtai Scott Shatsky, Yoseph Shatsky, Ginette Lando Thaler, Isaac Thaler, Leor Thaler, Michael Thaler, Zvi Thaler, Aron S. Trattner, Efrat Trattner, Hillel Trattner, Ronit Trattner,
                     Shelley Trattner, Sara Shatsky Tzimmerman. (Tolchin, Robert) (Entered: 01/02/2019)
 01/02/2019        8 STATEMENT OF RELATEDNESS re: that this action be filed as related to 18-cv-12213. Document filed by Steven Braun, Hadassa Diner, Bella Friedman, Chana Friedman, Ilan
                     Friedman, Miriam Friedman, Yehiel Friedman, Zvi Friedman, Yael Hillman, Tzippora Shatsky Schwarz, David Raphael Shatsky, Jo Anne Shatsky, Miriam Shatsky, Shabtai Scott Shatsky,
                     Yoseph Shatsky, Ginette Lando Thaler, Isaac Thaler, Leor Thaler, Michael Thaler, Zvi Thaler, Aron S. Trattner, Efrat Trattner, Hillel Trattner, Ronit Trattner, Shelley Trattner, Sara
                     Shatsky Tzimmerman.(Tolchin, Robert) (Entered: 01/02/2019)
 01/02/2019            ADD PARTY FOR PLEADING. Plaintiffs/Petitioners Michael Thaler, Ginette Lando Thaler, Shabtai Shatsky, Jo Ann Shatsky added. Party added pursuant to 1 Complaint,,.Document
                       filed by Michael Thaler, Ginette Lando Thaler, Shabtai Shatsky, Jo Ann Shatsky. Related document: 1 Complaint,,.(Tolchin, Robert) (Entered: 01/02/2019)
 01/02/2019        9 COMPLAINT against All Defendants. Document filed by Zvi Thaler, Chana Friedman, David Raphael Shatsky, Bella Friedman, Efrat Trattner, Jo Anne Shatsky, Jo Ann Shatsky, Ilan
                     Friedman, Shabtai Scott Shatsky, Hadassa Diner, Shelley Trattner, Hillel Trattner, Miriam Friedman, Shabtai Shatsky, Zvi Friedman, Miriam Shatsky, Tzippora Shatsky Schwarz, Michael
                     Thaler(Individually), Isaac Thaler, Ronit Trattner, Aron S. Trattner, Steven Braun, Ginette Lando Thaler, Yoseph Shatsky, Ginette Lando Thaler, Michael Thaler, Yehiel Friedman, Leor
                     Thaler, Yael Hillman, Sara Shatsky Tzimmerman.(Tolchin, Robert) (Entered: 01/02/2019)
 01/04/2019            CASE DECLINED AS NOT RELATED. Case referred as related to 18cv12213 and declined by Judge Louis L Stanton and returned to wheel for assignment. (wb) (Entered: 01/04/2019)
                                  Case 22-1138, Document 12, 06/06/2022, 3327148, Page7 of 28
01/04/2019       NOTICE OF CASE REASSIGNMENT to Judge Gregory H. Woods. Judge Unassigned is no longer assigned to the case. (wb) (Entered: 01/04/2019)
01/04/2019       Magistrate Judge Debra C. Freeman is so designated. Pursuant to 28 U.S.C. Section 636(c) and Fed. R. Civ. P. 73(b)(1) parties are notified that they may consent to proceed before a
                 United States Magistrate Judge. Parties who wish to consent may access the necessary form at the following link: http://nysd.uscourts.gov/forms.php. (wb) (Entered: 01/04/2019)
01/04/2019   10 ELECTRONIC SUMMONS ISSUED as to The Palestine Liberation Organization. (pne) (Entered: 01/04/2019)
01/04/2019       ***NOTICE TO ATTORNEY REGARDING DEFICIENT REQUEST FOR ISSUANCE OF SUMMONS. Notice to Attorney Robert Joseph Tolchin to RE-FILE Document
                 No. 6 Request for Issuance of Amended Summons, Request for Issuance of Summons. The filing is deficient for the following reason(s): the wrong event type was used to file the
                 request for issuance of summons. Re-file the document using only the event type Request for Issuance of Summons found under the event list Service of Process - select the
                 correct filer/filers - and attach the correct summons form PDF. (pne) (Entered: 01/04/2019)
01/24/2019   11 NOTICE OF INITIAL PRETRIAL CONFERENCE: Initial Conference set for 4/17/2019 at 04:00 PM in Courtroom 12C, 500 Pearl Street, New York, NY 10007 before Judge Gregory H.
                Woods; and as further set forth in this Order. SO ORDERED. (Signed by Judge Gregory H. Woods on 1/24/2019) (anc) (Entered: 01/24/2019)
03/05/2019   12 LETTER MOTION to Stay addressed to Judge Gregory H. Woods from Robert J. Tolchin dated 3-5-2019., LETTER MOTION to Adjourn Conference addressed to Judge Gregory H.
                Woods from Robert J. Tolchin dated 3-5-2019. Document filed by Steven Braun, Hadassa Diner, Bella Friedman, Chana Friedman, Ilan Friedman, Miriam Friedman, Yehiel Friedman, Zvi
                Friedman, Yael Hillman, Ginette Lando Thaler, Tzippora Shatsky Schwarz, David Raphael Shatsky, Jo Ann Shatsky, Jo Anne Shatsky, Miriam Shatsky, Shabtai Scott Shatsky, Shabtai
                Shatsky, Yoseph Shatsky, Ginette Lando Thaler, Isaac Thaler, Leor Thaler, Michael Thaler(Individually), Michael Thaler, Zvi Thaler, Aron S. Trattner, Efrat Trattner, Hillel Trattner, Ronit
                Trattner, Shelley Trattner, Sara Shatsky Tzimmerman.(Tolchin, Robert) (Entered: 03/05/2019)
03/06/2019   13 ORDER granting in part 12 Letter Motion to Stay; granting in part 12 Letter Motion to Adjourn Conference. Application granted in part. This case is stayed through May 31, 2019. The
                initial pretrial conference scheduled for April 17, 2019 is adjourned sine die. The Court directs the parties to submit a joint status letter no later than May 20, 2019. That letter should
                update the Court on the status of the related cases, and should also address whether the parties consent to transferring this case to the United States District Court for the District of
                Columbia pursuant to 28 U.S.C. § 1404(b). The joint status letter should also provide the parties views on whether the interests of justice and other applicable factors favor transfer of this
                action to the District of Columbia pursuant to 28 U.S.C. § 1404. SO ORDERED. (Signed by Judge Gregory H. Woods on 3/6/2019) (anc) (Entered: 03/06/2019)
03/06/2019       Case Stayed. (anc) (Entered: 03/06/2019)
05/20/2019   14 NOTICE OF APPEARANCE by Gassan Adnan Baloul on behalf of The Palestine Liberation Organization, The Palestinian Authority. (Baloul, Gassan) (Entered: 05/20/2019)
05/20/2019   15 NOTICE OF APPEARANCE by Mitchell Rand Berger on behalf of The Palestine Liberation Organization, The Palestinian Authority. (Berger, Mitchell) (Entered: 05/20/2019)
05/20/2019   16 STATUS REPORT. Document filed by Steven Braun, Hadassa Diner, Bella Friedman, Chana Friedman, Ilan Friedman, Miriam Friedman, Yehiel Friedman, Zvi Friedman, Yael Hillman,
                Ginette Lando Thaler, Tzippora Shatsky Schwarz, David Raphael Shatsky, Jo Ann Shatsky, Jo Anne Shatsky, Miriam Shatsky, Shabtai Scott Shatsky, Shabtai Shatsky, Yoseph Shatsky,
                Ginette Lando Thaler, Isaac Thaler, Leor Thaler, Michael Thaler(Individually), Michael Thaler, Zvi Thaler, Aron S. Trattner, Efrat Trattner, Hillel Trattner, Ronit Trattner, Shelley Trattner,
                Sara Shatsky Tzimmerman.(Tolchin, Robert) (Entered: 05/20/2019)
05/21/2019   17 MEMO ENDORSEMENT on re: 16 Status Report,, filed by Miriam Shatsky, Michael Thaler, Tzippora Shatsky Schwarz, Yael Hillman, Isaac Thaler, Shelley Trattner, Shabtai Shatsky,
                Chana Friedman, Zvi Friedman, Jo Anne Shatsky, Yoseph Shatsky, Steven Braun, Ginette Lando Thaler, Jo Ann Shatsky, Ilan Friedman, Leor Thaler, Hillel Trattner, Aron S. Trattner,
                Ronit Trattner, Efrat Trattner, Sara Shatsky Tzimmerman, Yehiel Friedman, Miriam Friedman, David Raphael Shatsky, Shabtai Scott Shatsky, Hadassa Diner, Bella Friedman, Zvi Thaler.
                ENDORSEMENT: Application granted in part. This case is stayed through August 30, 2019. The parties are directed to submit a supplemental joint status letter no later than August 22,
                2019. (Signed by Judge Gregory H. Woods on 5/21/2019) (mro) (Entered: 05/21/2019)
05/21/2019   18 ORDER REFERRING CASE TO MAGISTRATE JUDGE. Order that case be referred to the Clerk of Court for assignment to a Magistrate Judge for General Pretrial (includes
                scheduling, discovery, non-dispositive pretrial motions, and settlement). Referred to Magistrate Judge Debra C. Freeman. (Signed by Judge Gregory H. Woods on 5/21/2019) (mro)
                (Entered: 05/21/2019)
08/22/2019   19 LETTER addressed to Judge Gregory H. Woods from Robert J. Tolchin dated 8-22-19 re: joint staus letter. Document filed by Steven Braun, Hadassa Diner, Bella Friedman, Chana
                Friedman, Ilan Friedman, Miriam Friedman, Yehiel Friedman, Zvi Friedman, Yael Hillman, Ginette Lando Thaler, Tzippora Shatsky Schwarz, David Raphael Shatsky, Jo Ann Shatsky, Jo
                Anne Shatsky, Miriam Shatsky, Shabtai Scott Shatsky, Shabtai Shatsky, Yoseph Shatsky, Ginette Lando Thaler, Isaac Thaler, Leor Thaler, Michael Thaler(Individually), Michael Thaler,
                Zvi Thaler, Aron S. Trattner, Efrat Trattner, Hillel Trattner, Ronit Trattner, Shelley Trattner, Sara Shatsky Tzimmerman.(Tolchin, Robert) (Entered: 08/22/2019)
08/22/2019   20 MEMO ENDORSEMENT on re: 19 Letter joint staus, filed by Miriam Shatsky, Michael Thaler, Tzippora Shatsky Schwarz, Yael Hillman, Isaac Thaler, Shelley Trattner, Shabtai Shatsky,
                Chana Friedman, Zvi Friedman, Jo Anne Shatsky, Yoseph Shatsky, Steven Braun, Ginette Lando Thaler, Jo Ann Shatsky, Ilan Friedman, Leor Thaler, Hillel Trattner, Aron S. Trattner,
                Ronit Trattner, Efrat Trattner, Sara Shatsky Tzimmerman, Yehiel Friedman, Miriam Friedman, David Raphael Shatsky, Shabtai Scott Shatsky, Hadassa Diner, Bella Friedman, Zvi Thaler.
                ENDORSEMENT: Application granted in part. This case is stayed through January 31, 2020. The Court directs the parties to submit a joint status letter no later than January 30, 2020.
                That letter should update the Court on the status of the related cases. SO ORDERED. (Signed by Judge Gregory H. Woods on 8/22/19) (yv) (Entered: 08/23/2019)
01/30/2020   21 STATUS REPORT. Document filed by Steven Braun, Hadassa Diner, Bella Friedman, Chana Friedman, Ilan Friedman, Miriam Friedman, Yehiel Friedman, Zvi Friedman, Yael Hillman,
                Ginette Lando Thaler, Tzippora Shatsky Schwarz, David Raphael Shatsky, Jo Ann Shatsky, Jo Anne Shatsky, Miriam Shatsky, Shabtai Scott Shatsky, Shabtai Shatsky, Yoseph Shatsky,
                Ginette Lando Thaler, Isaac Thaler, Leor Thaler, Michael Thaler(Individually), Michael Thaler, Zvi Thaler, Aron S. Trattner, Efrat Trattner, Hillel Trattner, Ronit Trattner, Shelley Trattner,
                Sara Shatsky Tzimmerman.(Tolchin, Robert) (Entered: 01/30/2020)
02/03/2020   22 MEMO ENDORSEMENT: on re: 21 Status Report filed by Miriam Shatsky, Michael Thaler, Tzippora Shatsky Schwarz, Yael Hillman, Isaac Thaler, Shelley Trattner, Shabtai Shatsky,
                Chana Friedman, Zvi Friedman, Jo Anne Shatsky, Yoseph Shatsky, Steven Braun, Ginette Lando Thaler, Jo Ann Shatsky, Ilan Friedman, Leor Thaler, Hillel Trattner, Aron S. Trattner,
                Ronit Trattner, Efrat Trattner, Sara Shatsky Tzimmerman, Yehiel Friedman, Miriam Friedman, David Raphael Shatsky, Shabtai Scott Shatsky, Hadassa Diner, Bella Friedman, Zvi Thaler.
                ENDORSEMENT: Application granted in part. This case is stayed through May 29, 2020. The Court directs the parties to submit a joint status letter no later than May 28, 2020. That
                letter should update the Court on the status of the related cases. SO ORDERED. (Signed by Judge Gregory H. Woods on 2/03/2020) (ama) (Entered: 02/03/2020)
02/06/2020       NOTICE OF CASE REASSIGNMENT to Judge Mary Kay Vyskocil. Judge Gregory H. Woods is no longer assigned to the case..(wb) (Entered: 02/06/2020)
05/27/2020   23 STATUS REPORT. Document filed by Steven Braun, Hadassa Diner, Bella Friedman, Chana Friedman, Ilan Friedman, Miriam Friedman, Yehiel Friedman, Zvi Friedman, Yael Hillman,
                Ginette Lando Thaler, Tzippora Shatsky Schwarz, David Raphael Shatsky, Jo Ann Shatsky, Jo Anne Shatsky, Miriam Shatsky, Shabtai Scott Shatsky, Shabtai Shatsky, Yoseph Shatsky,
                Ginette Lando Thaler, Isaac Thaler, Leor Thaler, Michael Thaler(Individually), Michael Thaler, Zvi Thaler, Aron S. Trattner, Efrat Trattner, Hillel Trattner, Ronit Trattner, Shelley Trattner,
                Sara Shatsky Tzimmerman..(Tolchin, Robert) (Entered: 05/27/2020)
05/29/2020   24 MEMO ENDORSEMENT on re: 23 Status Report,, filed by Miriam Shatsky, Michael Thaler, Tzippora Shatsky Schwarz, Yael Hillman, Isaac Thaler, Shelley Trattner, Shabtai Shatsky,
                Chana Friedman, Zvi Friedman, Jo Anne Shatsky, Yoseph Shatsky, Steven Braun, Ginette Lando Thaler, Jo Ann Shatsky, Ilan Friedman, Leor Thaler, Hillel Trattner, Aron S. Trattner,
                Ronit Trattner, Efrat Trattner, Sara Shatsky Tzimmerman, Yehiel Friedman, Miriam Friedman, David Raphael Shatsky, Shabtai Scott Shatsky, Hadassa Diner, Bella Friedman, Zvi Thaler.
                ENDORSEMENT: Granted. SO ORDERED. (Signed by Judge Mary Kay Vyskocil on 5/29/2020) (rro) (Entered: 05/29/2020)
06/30/2020   25 NOTICE OF APPEARANCE by Stephen Matthew Sinaiko on behalf of Steven Braun, Hadassa Diner, Bella Friedman, Chana Friedman, Ilan Friedman, Miriam Friedman, Yehiel
                Friedman, Zvi Friedman, Yael Hillman, Ginette Lando Thaler, Tzippora Shatsky Schwarz, David Raphael Shatsky, Jo Ann Shatsky, Jo Anne Shatsky, Miriam Shatsky, Shabtai Scott
                Shatsky, Shabtai Shatsky, Yoseph Shatsky, Ginette Lando Thaler, Isaac Thaler, Leor Thaler, Michael Thaler(Individually), Michael Thaler, Zvi Thaler, Aron S. Trattner, Efrat Trattner,
                Hillel Trattner, Ronit Trattner, Shelley Trattner, Sara Shatsky Tzimmerman..(Sinaiko, Stephen) (Entered: 06/30/2020)
06/30/2020   26 NOTICE OF APPEARANCE by Mark Stewart Cohen on behalf of Steven Braun, Hadassa Diner, Bella Friedman, Chana Friedman, Ilan Friedman, Miriam Friedman, Yehiel Friedman,
                Zvi Friedman, Yael Hillman, Ginette Lando Thaler, Tzippora Shatsky Schwarz, David Raphael Shatsky, Jo Ann Shatsky, Jo Anne Shatsky, Miriam Shatsky, Shabtai Scott Shatsky, Shabtai
                Shatsky, Yoseph Shatsky, Ginette Lando Thaler, Isaac Thaler, Leor Thaler, Michael Thaler(Individually), Michael Thaler, Zvi Thaler, Aron S. Trattner, Efrat Trattner, Hillel Trattner, Ronit
                Trattner, Shelley Trattner, Sara Shatsky Tzimmerman..(Cohen, Mark) (Entered: 06/30/2020)
06/30/2020   27 LETTER addressed to Judge Mary Kay Vyskocil from Mark S. Cohen dated June 30, 2020 re: Providing a Status Report Pursuant to the Court's Memorandum Endorsement Dated May
                29, 2020. Document filed by Steven Braun, Hadassa Diner, Bella Friedman, Chana Friedman, Ilan Friedman, Miriam Friedman, Yehiel Friedman, Zvi Friedman, Yael Hillman, Ginette
                Lando Thaler, Tzippora Shatsky Schwarz, David Raphael Shatsky, Jo Ann Shatsky, Jo Anne Shatsky, Miriam Shatsky, Shabtai Scott Shatsky, Shabtai Shatsky, Yoseph Shatsky, Ginette
                Lando Thaler, Isaac Thaler, Leor Thaler, Michael Thaler(Individually), Michael Thaler, Zvi Thaler, Aron S. Trattner, Efrat Trattner, Hillel Trattner, Ronit Trattner, Shelley Trattner, Sara
                Shatsky Tzimmerman..(Cohen, Mark) (Entered: 06/30/2020)
07/01/2020   28 FILING ERROR - WRONG EVENT TYPE SELECTED FROM MENU REQUEST FOR ISSUANCE OF SUMMONS as to The Palestine Liberation Organization, re: 9 Complaint.
                Document filed by Steven Braun, Hadassa Diner, Bella Friedman, Chana Friedman, Ilan Friedman, Miriam Friedman, Yehiel Friedman, Zvi Friedman, Yael Hillman, Ginette Lando
                Thaler, Tzippora Shatsky Schwarz, David Raphael Shatsky, Jo Ann Shatsky, Jo Anne Shatsky, Miriam Shatsky, Shabtai Scott Shatsky, Shabtai Shatsky, Yoseph Shatsky, Ginette Lando
                Thaler, Isaac Thaler, Leor Thaler, Michael Thaler(Individually), Michael Thaler, Zvi Thaler, Aron S. Trattner, Efrat Trattner, Hillel Trattner, Ronit Trattner, Shelley Trattner, Sara Shatsky
                Tzimmerman.(Sinaiko, Stephen) Modified on 7/2/2020 (sj). (Entered: 07/01/2020)
07/01/2020   29 REQUEST FOR ISSUANCE OF SUMMONS as to The Palestinian Authority (a/k/a The Palestinian Interim Self-Government Authority and/or The Palestinian National Authority), re: 9
                Complaint,,. Document filed by Steven Braun, Hadassa Diner, Bella Friedman, Chana Friedman, Ilan Friedman, Miriam Friedman, Yehiel Friedman, Zvi Friedman, Yael Hillman, Ginette
                Lando Thaler, Tzippora Shatsky Schwarz, David Raphael Shatsky, Jo Ann Shatsky, Jo Anne Shatsky, Miriam Shatsky, Shabtai Scott Shatsky, Shabtai Shatsky, Yoseph Shatsky, Ginette
                Lando Thaler, Isaac Thaler, Leor Thaler, Michael Thaler(Individually), Michael Thaler, Zvi Thaler, Aron S. Trattner, Efrat Trattner, Hillel Trattner, Ronit Trattner, Shelley Trattner, Sara
                Shatsky Tzimmerman..(Sinaiko, Stephen) (Entered: 07/01/2020)
                                  Case 22-1138, Document 12, 06/06/2022, 3327148, Page8 of 28
07/02/2020   30 ELECTRONIC SUMMONS ISSUED as to The Palestinian Authority. (sj) (Entered: 07/02/2020)
07/02/2020       ***NOTICE TO ATTORNEY REGARDING DEFICIENT REQUEST FOR ISSUANCE OF SUMMONS. Notice to Attorney Stephen Matthew Sinaiko to RE-FILE Document
                 No. 28 Request for Issuance of Summons. The filing is deficient for the following reason(s): the wrong event type was used to file the request for issuance of summons. Re-file
                 the document using the event type Request for Issuance of Amended Summons found under the event list Service of Process - select the correct filer/filers - and attach the
                 correct summons form PDF. (sj) (Entered: 07/02/2020)
07/02/2020   31 REQUEST FOR ISSUANCE OF AMENDED SUMMONS as to The Palestine Liberation Organization, re: 9 Complaint,,. Document filed by Steven Braun, Hadassa Diner, Bella
                Friedman, Chana Friedman, Ilan Friedman, Miriam Friedman, Yehiel Friedman, Zvi Friedman, Yael Hillman, Ginette Lando Thaler, Tzippora Shatsky Schwarz, David Raphael Shatsky,
                Jo Ann Shatsky, Jo Anne Shatsky, Miriam Shatsky, Shabtai Scott Shatsky, Shabtai Shatsky, Yoseph Shatsky, Ginette Lando Thaler, Isaac Thaler, Leor Thaler, Michael
                Thaler(Individually), Michael Thaler, Zvi Thaler, Aron S. Trattner, Efrat Trattner, Hillel Trattner, Ronit Trattner, Shelley Trattner, Sara Shatsky Tzimmerman..(Sinaiko, Stephen) (Entered:
                07/02/2020)
07/02/2020   32 ELECTRONIC AMENDED SUMMONS ISSUED as to The Palestine Liberation Organization..(pne) (Entered: 07/02/2020)
07/13/2020   33 AFFIDAVIT OF SERVICE of Summons and Complaint,,. The Palestinian Authority served on 7/9/2020, answer due 7/30/2020. Service was accepted by Almaz Gudeta, Receptionist.
                Document filed by Zvi Thaler; Chana Friedman; David Raphael Shatsky; Bella Friedman; Efrat Trattner; Jo Anne Shatsky; Jo Ann Shatsky; Ilan Friedman; Shabtai Scott Shatsky;
                Hadassa Diner; Shelley Trattner; Hillel Trattner; Miriam Friedman; Shabtai Shatsky; Zvi Friedman; Miriam Shatsky; Tzippora Shatsky Schwarz; Michael Thaler(Individually); Isaac
                Thaler; Ronit Trattner; Aron S. Trattner; Steven Braun; Ginette Lando Thaler; Yoseph Shatsky; Ginette Lando Thaler; Michael Thaler; Yehiel Friedman; Leor Thaler; Yael Hillman; Sara
                Shatsky Tzimmerman..(Sinaiko, Stephen) (Entered: 07/13/2020)
07/13/2020   34 AFFIDAVIT OF SERVICE of Summons and Complaint,,. The Palestine Liberation Organization served on 7/9/2020, answer due 7/30/2020. Service was accepted by Almaz Gudeta,
                Receptionist. Document filed by Zvi Thaler; Chana Friedman; David Raphael Shatsky; Bella Friedman; Efrat Trattner; Jo Anne Shatsky; Jo Ann Shatsky; Ilan Friedman; Shabtai Scott
                Shatsky; Hadassa Diner; Shelley Trattner; Hillel Trattner; Miriam Friedman; Shabtai Shatsky; Zvi Friedman; Miriam Shatsky; Tzippora Shatsky Schwarz; Michael Thaler(Individually);
                Isaac Thaler; Ronit Trattner; Aron S. Trattner; Steven Braun; Ginette Lando Thaler; Yoseph Shatsky; Ginette Lando Thaler; Michael Thaler; Yehiel Friedman; Leor Thaler; Yael Hillman;
                Sara Shatsky Tzimmerman..(Sinaiko, Stephen) (Entered: 07/13/2020)
07/13/2020   35 PROPOSED STIPULATION AND ORDER. Document filed by Steven Braun, Hadassa Diner, Bella Friedman, Chana Friedman, Ilan Friedman, Miriam Friedman, Yehiel Friedman, Zvi
                Friedman, Yael Hillman, Ginette Lando Thaler, Tzippora Shatsky Schwarz, David Raphael Shatsky, Jo Ann Shatsky, Jo Anne Shatsky, Miriam Shatsky, Shabtai Scott Shatsky, Shabtai
                Shatsky, Yoseph Shatsky, Ginette Lando Thaler, Isaac Thaler, Leor Thaler, Michael Thaler(Individually), Michael Thaler, Zvi Thaler, Aron S. Trattner, Efrat Trattner, Hillel Trattner, Ronit
                Trattner, Shelley Trattner, Sara Shatsky Tzimmerman..(Sinaiko, Stephen) (Entered: 07/13/2020)
07/13/2020   36 MEMO ENDORSEMENT on re: 27 Letter,,, filed by Miriam Shatsky, Michael Thaler, Tzippora Shatsky Schwarz, Yael Hillman, Isaac Thaler, Shelley Trattner, Shabtai Shatsky, Chana
                Friedman, Zvi Friedman, Jo Anne Shatsky, Yoseph Shatsky, Steven Braun, Ginette Lando Thaler, Jo Ann Shatsky, Ilan Friedman, Leor Thaler, Hillel Trattner, Aron S. Trattner, Ronit
                Trattner, Efrat Trattner, Sara Shatsky Tzimmerman, Yehiel Friedman, Miriam Friedman, David Raphael Shatsky, Shabtai Scott Shatsky, Hadassa Diner, Bella Friedman, Zvi Thaler.
                ENDORSEMENT: IT IS HEREBY ORDERED that the stay of this action is lifted. Case Stay Lifted. (Signed by Judge Mary Kay Vyskocil on 7/13/2020) (jca) (Entered: 07/13/2020)
07/13/2020   37 STIPULATION AND ORDER: IT IS HEREBY STIPULATED AND AGREED by the parties to this action, through their undersigned counsel, as follows: 1. Plaintiffs served a summons
                and complaint in this action directed to each defendant as set forth in the proofs of service filed by plaintiffs. (Dkt. Nos. 33, 34). Defendants shall not challenge the validity or sufficiency
                of such service of process for any purpose in this action. Defendants reserve all other defenses, including as to the jurisdiction of the Court, except insofar as such defenses concern the
                validity or sufficiency of service of process. 2.The time within which defendants may answer, move or otherwise respond to the complaint in this action shall be extended through and
                including October 7, 2020. SO ORDERED. The Palestine Liberation Organization answer due 10/7/2020; The Palestinian Authority answer due 10/7/2020. (Signed by Judge Mary Kay
                Vyskocil on 7/13/2020) (jca) (Entered: 07/13/2020)
09/25/2020   38 MOTION for Ronald F. Wick to Appear Pro Hac Vice . Filing fee $ 200.00, receipt number ANYSDC-21850784. Motion and supporting papers to be reviewed by Clerk's Office
                staff. Document filed by Steven Braun, Hadassa Diner, Bella Friedman, Chana Friedman, Ilan Friedman, Miriam Friedman, Yehiel Friedman, Zvi Friedman, Yael Hillman, Ginette Lando
                Thaler, Tzippora Shatsky Schwarz, David Raphael Shatsky, Jo Ann Shatsky, Jo Anne Shatsky, Miriam Shatsky, Shabtai Scott Shatsky, Shabtai Shatsky, Yoseph Shatsky, Ginette Lando
                Thaler, Isaac Thaler, Leor Thaler, Michael Thaler(Individually), Michael Thaler, Zvi Thaler, Aron S. Trattner, Efrat Trattner, Hillel Trattner, Ronit Trattner, Shelley Trattner, Sara Shatsky
                Tzimmerman. (Attachments: # 1 Affidavit of Ronald F. Wick in Support of Motion to Admit Counsel Pro Hac Vice, # 2 Exhibit - DC and MD Certificates of Good Standing, # 3 Text of
                Proposed Order - Order For Admission Pro Hac Vice).(Wick, Ronald) (Entered: 09/25/2020)
09/27/2020       >>>NOTICE REGARDING PRO HAC VICE MOTION. Regarding Document No. 38 MOTION for Ronald F. Wick to Appear Pro Hac Vice . Filing fee $ 200.00, receipt
                 number ANYSDC-21850784. Motion and supporting papers to be reviewed by Clerk's Office staff.. The document has been reviewed and there are no deficiencies. (bcu)
                 (Entered: 09/27/2020)
09/28/2020   39 ORDER granting 38 Motion for Ronald F Wick to Appear Pro Hac Vice (HEREBY ORDERED by Judge Mary Kay Vyskocil)(Text Only Order) (rz) (Entered: 09/28/2020)
10/07/2020   40 LETTER addressed to Judge Mary Kay Vyskocil from Gassan A. Baloul dated October 7, 2020 re: Pre-Motion Conference Letter for Motion to Dismiss Complaint. Document filed by
                The Palestine Liberation Organization, The Palestinian Authority..(Baloul, Gassan) (Entered: 10/07/2020)
10/13/2020   41 LETTER MOTION for Conference (Letter Pursuant to Rule 4(A)(i) of Judge Vyskocil's Individual Rules of Practice Requesting a Pre-Motion Conference in Connection with Plaintiffs'
                Motion for Leave to Conduct Jurisdictional Discovery.) addressed to Judge Mary Kay Vyskocil from Stephen M. Sinaiko dated October 13, 2020. Document filed by Steven Braun,
                Hadassa Diner, Bella Friedman, Chana Friedman, Ilan Friedman, Miriam Friedman, Yehiel Friedman, Zvi Friedman, Yael Hillman, Ginette Lando Thaler, Tzippora Shatsky Schwarz,
                David Raphael Shatsky, Jo Ann Shatsky, Jo Anne Shatsky, Miriam Shatsky, Shabtai Scott Shatsky, Shabtai Shatsky, Yoseph Shatsky, Ginette Lando Thaler, Isaac Thaler, Leor Thaler,
                Michael Thaler(Individually), Michael Thaler, Zvi Thaler, Aron S. Trattner, Efrat Trattner, Hillel Trattner, Ronit Trattner, Shelley Trattner, Sara Shatsky Tzimmerman. (Attachments: # 1
                Exhibit A, # 2 Exhibit B, # 3 Exhibit C).(Sinaiko, Stephen) (Entered: 10/13/2020)
10/13/2020   42 LETTER addressed to Judge Mary Kay Vyskocil from Stephen M. Sinaiko dated October 13, 2020 re: Response, Pursuant to Rule 4(A)(i) of Judge Vyskocil's Individual Rules of Practice,
                to Defendants' Letter Dated October 7, 2020 (Dkt. No. 40) Seeking a Pre-Motion Conference.. Document filed by Steven Braun, Hadassa Diner, Bella Friedman, Chana Friedman, Ilan
                Friedman, Miriam Friedman, Yehiel Friedman, Zvi Friedman, Yael Hillman, Ginette Lando Thaler, Tzippora Shatsky Schwarz, David Raphael Shatsky, Jo Ann Shatsky, Jo Anne Shatsky,
                Miriam Shatsky, Shabtai Scott Shatsky, Shabtai Shatsky, Yoseph Shatsky, Ginette Lando Thaler, Isaac Thaler, Leor Thaler, Michael Thaler(Individually), Michael Thaler, Zvi Thaler, Aron
                S. Trattner, Efrat Trattner, Hillel Trattner, Ronit Trattner, Shelley Trattner, Sara Shatsky Tzimmerman. (Attachments: # 1 Exhibit A).(Sinaiko, Stephen) (Entered: 10/13/2020)
10/15/2020   43 LETTER addressed to Judge Mary Kay Vyskocil from Gassan A. Baloul dated October 15, 2020 re: Response to Plaintiffs October 13, 2020 pre-motion conference letter (Dkt. #41).
                Document filed by The Palestine Liberation Organization, The Palestinian Authority..(Baloul, Gassan) (Entered: 10/15/2020)
10/15/2020   44 ORDER granting Letter Motions for Conferences [ECF #40, 41]. IT IS HEREBY ORDERED that the parties shall appear for a pre-motion conference on October 29, 2020 at 11:00 AM
                regarding their contemplated motions to dismiss and for jurisdictional discovery, respectively. The conference shall be held by telephone. The conference can be accessed by calling the
                Court's teleconference line at 888-278-0296 at the scheduled time. When prompted, enter Access Code 5195844. The Court will join once all of the parties are on the line. (HEREBY
                ORDERED by Judge Mary Kay Vyskocil)(Text Only Order) (Entered: 10/15/2020)
10/28/2020   45 Due to a conflict in the Court's calendar, the pre-motion conference that was scheduled to take place on October 29, 2020 is adjourned to Friday, November 6, 2020 at 11:00 AM. The
                Court apologizes for any inconvenience. (HEREBY ORDERED by Judge Mary Kay Vyskocil) (Text Only Order) (Entered: 10/28/2020)
10/29/2020       Set/Reset Hearings: Pre-Motion Conference set for 11/6/2020 at 11:00 AM before Judge Mary Kay Vyskocil. (rz) (Entered: 10/29/2020)
11/06/2020       Minute Entry for proceedings held before Judge Mary Kay Vyskocil: Pre-Motion Conference held on 11/6/2020. (rz) (Entered: 11/06/2020)
11/13/2020   46 TRANSCRIPT of Proceedings re: Telephone Conference held on 11/6/2020 before Judge Mary Kay Vyskocil. Court Reporter/Transcriber: Carole Ludwig, (212) 420-0771. Transcript
                may be viewed at the court public terminal or purchased through the Court Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that date it may be
                obtained through PACER. Redaction Request due 12/4/2020. Redacted Transcript Deadline set for 12/14/2020. Release of Transcript Restriction set for 2/11/2021..(rro) (Entered:
                11/13/2020)
11/13/2020   47 NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an official transcript of a Telephone Conference proceeding held on 11/6/2020 has been filed by the court
                reporter/transcriber in the above-captioned matter. The parties have seven (7) calendar days to file with the court a Notice of Intent to Request Redaction of this transcript. If no such
                Notice is filed, the transcript may be made remotely electronically available to the public without redaction after 90 calendar days.(rro) (Entered: 11/13/2020)
11/17/2020   48 LETTER MOTION for Extension of Time (Seeking Extension Through and Including November 25, 2020, with Defendants' Consent, of Deadline for Filing Amended Complaint)
                addressed to Judge Mary Kay Vyskocil from Stephen M. Sinaiko dated November 17, 2020. Document filed by Steven Braun, Hadassa Diner, Bella Friedman, Chana Friedman, Ilan
                Friedman, Miriam Friedman, Yehiel Friedman, Zvi Friedman, Yael Hillman, Ginette Lando Thaler, Tzippora Shatsky Schwarz, David Raphael Shatsky, Jo Ann Shatsky, Jo Anne Shatsky,
                Miriam Shatsky, Shabtai Scott Shatsky, Shabtai Shatsky, Yoseph Shatsky, Ginette Lando Thaler, Isaac Thaler, Leor Thaler, Michael Thaler(Individually), Michael Thaler, Zvi Thaler, Aron
                S. Trattner, Efrat Trattner, Hillel Trattner, Ronit Trattner, Shelley Trattner, Sara Shatsky Tzimmerman..(Sinaiko, Stephen) (Entered: 11/17/2020)
11/19/2020   49 ORDER granting 48 Letter Motion for Extension of Time. Granted. SO ORDERED. (Amended Pleadings due by 11/25/2020.) (Signed by Judge Mary Kay Vyskocil on 11/19/2020) (rro)
                (Entered: 11/19/2020)
11/25/2020   50 FIRST AMENDED COMPLAINT amending 9 Complaint,, against The Palestine Liberation Organization, The Palestinian Authority with JURY DEMAND.Document filed by Zvi
                Thaler, Chana Friedman, David Raphael Shatsky, Bella Friedman, Efrat Trattner, Jo Anne Shatsky, Jo Ann Shatsky, Ilan Friedman, Shabtai Scott Shatsky, Hadassa Diner, Shelley Trattner,
                Hillel Trattner, Miriam Friedman, Shabtai Shatsky, Zvi Friedman, Miriam Shatsky, Tzippora Shatsky Schwarz, Michael Thaler(Individually), Isaac Thaler, Ronit Trattner, Aron S.
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                 Trattner, Steven Braun, Ginette Lando Thaler, Yoseph Shatsky, Ginette Lando Thaler, Michael Thaler, Yehiel Friedman, Leor Thaler, Yael Hillman, Sara Shatsky Tzimmerman. Related
                 document: 9 Complaint,,. (Attachments: # 1 Exhibit A).(Sinaiko, Stephen) (Entered: 11/25/2020)
12/06/2020   51 FIRST LETTER MOTION for Extension of Time addressed to Judge Mary Kay Vyskocil from Gassan A. Baloul dated December 6, 2020. Document filed by The Palestine Liberation
                Organization, The Palestinian Authority..(Baloul, Gassan) (Entered: 12/06/2020)
12/08/2020   52 ORDER granting 51 Letter Motion for Extension of Time. Granted. (Signed by Judge Mary Kay Vyskocil on 12/8/2020) (mro) (Entered: 12/08/2020)
12/08/2020       Set/Reset Deadlines: The Palestine Liberation Organization answer due 12/14/2020; The Palestinian Authority answer due 12/14/2020. (mro) (Entered: 12/08/2020)
12/14/2020   53 LETTER MOTION for Conference addressed to Judge Mary Kay Vyskocil from Gassan A. Baloul dated Dec. 14, 2020. Document filed by The Palestine Liberation Organization, The
                Palestinian Authority. (Attachments: # 1 Local Civ. R. 56.1 Statement of Material Facts).(Baloul, Gassan) (Entered: 12/14/2020)
12/17/2020   54 LETTER RESPONSE to Motion addressed to Judge Mary Kay Vyskocil from Stephen M. Sinaiko dated December 17, 2020 re: 53 LETTER MOTION for Conference addressed to Judge
                Mary Kay Vyskocil from Gassan A. Baloul dated Dec. 14, 2020. . Document filed by Steven Braun, Hadassa Diner, Bella Friedman, Chana Friedman, Ilan Friedman, Miriam Friedman,
                Yehiel Friedman, Zvi Friedman, Yael Hillman, Ginette Lando Thaler, Tzippora Shatsky Schwarz, David Raphael Shatsky, Jo Ann Shatsky, Jo Anne Shatsky, Miriam Shatsky, Shabtai
                Scott Shatsky, Shabtai Shatsky, Yoseph Shatsky, Ginette Lando Thaler, Isaac Thaler, Leor Thaler, Michael Thaler(Individually), Michael Thaler, Zvi Thaler, Aron S. Trattner, Efrat
                Trattner, Hillel Trattner, Ronit Trattner, Shelley Trattner, Sara Shatsky Tzimmerman. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E).(Sinaiko,
                Stephen) (Entered: 12/17/2020)
12/18/2020   55 LETTER addressed to Judge Mary Kay Vyskocil from Gassan A. Baloul dated Dec. 18, 2020 re: Plaintiffs' Dec. 17, 2020 Letter (Dkt. No. 54). Document filed by The Palestine Liberation
                Organization, The Palestinian Authority..(Baloul, Gassan) (Entered: 12/18/2020)
01/08/2021   56 LETTER addressed to Judge Mary Kay Vyskocil from Gassan A. Baloul dated January 8, 2021 re: Defendants Brief Concerning the Application of the PSJVTA filed in Sokolow v. PLO,
                No. 1:04-cv-0397 (GBD). Document filed by The Palestine Liberation Organization, The Palestinian Authority..(Baloul, Gassan) (Entered: 01/08/2021)
01/13/2021   57 LETTER addressed to Judge Mary Kay Vyskocil from Stephen M. Sinaiko dated January 13, 2021 re: Response to Defendants' Letter Dated January 8, 2021 (Dkt. No. 56) re: Defendants
                Brief Concerning the Application of the PSJVTA filed in Sokolow v. PLO, No. 1:04-cv-0397 (GBD).. Document filed by Steven Braun, Hadassa Diner, Bella Friedman, Chana Friedman,
                Ilan Friedman, Miriam Friedman, Yehiel Friedman, Zvi Friedman, Yael Hillman, Ginette Lando Thaler, Tzippora Shatsky Schwarz, David Raphael Shatsky, Jo Ann Shatsky, Jo Anne
                Shatsky, Miriam Shatsky, Shabtai Scott Shatsky, Shabtai Shatsky, Yoseph Shatsky, Ginette Lando Thaler, Isaac Thaler, Leor Thaler, Michael Thaler(Individually), Michael Thaler, Zvi
                Thaler, Aron S. Trattner, Efrat Trattner, Hillel Trattner, Ronit Trattner, Shelley Trattner, Sara Shatsky Tzimmerman..(Sinaiko, Stephen) (Entered: 01/13/2021)
01/20/2021   58 PROPOSED STIPULATION AND ORDER. Document filed by The Palestine Liberation Organization, The Palestinian Authority..(Baloul, Gassan) (Entered: 01/20/2021)
02/04/2021   59 STIPULATION AND ORDER REGARDING ACCESS TO DISCOVERY MATERIAL FROMSHATSKY V. PLO, CASE NO. 02-CV-2280 (RJL) (D.D.C.): Plaintiffs and Defendants
                (collectively, the "Parties"), through undersigned counsel, represent and stipulate as follows: 1. All of the plaintiffs in Shatsky v. PLO, Case No. 02-cv-2280 (RJL) (D.D.C.) ("Shatsky I")
                are Plaintiffs in this action. 2. The Palestinian Authority ("PA") and the Palestine Liberation Organization ("PLO") were defendants in Shatsky I and are Defendants in this case. 3. One
                counsel who represented plaintiffs in Shatsky I has also appeared on behalf of Plaintiffs in this action. 4. Counsel for the PA and PLO in Shatsky I is also counsel for the PA and PLO in
                this action. 5. The parties to Shatsky I produced documents, answered interrogatories, and provided deposition testimony in that action (the "Shatsky I Discovery Material"), subject inter
                alia to the terms and conditions set forth in the Protective Order Regarding Confidentiality of Discovery Material (the "Shatsky I Protective Order"), which is at Docket Entry No. 157-2 in
                Shatsky I; as further set forth herein. (Signed by Judge Mary Kay Vyskocil on 2/4/2021) (mro) (Entered: 02/04/2021)
02/08/2021   60 ORDER IT IS HEREBY ORDERED that Plaintiffs' request to conduct jurisdictional discovery is GRANTED. The deadline to complete jurisdictional discovery is April 9, 2021. IT IS
                FURTHER ORDERED that Defendants shall file their contemplated dispositive motions by April 30, 2021. Plaintiffs shall respond by May 14, 2021. Defendants shall reply by May 21,
                2021. ( Discovery due by 4/9/2021., Motions due by 4/30/2021., Responses due by 5/14/2021, Replies due by 5/21/2021.) (Signed by Judge Mary Kay Vyskocil on 2/8/2021) (mro)
                (Entered: 02/08/2021)
02/08/2021   61 As the Court explained in its earlier Order dated February 8, 2021 [ECF #60], Defendants' request for a pre-motion conference regarding their contemplated motions to dismiss and for
                summary judgment [ECF #53] is DENIED IN PART and GRANTED IN PART. The request for a conference is denied. The request for leave to file Defendants' contemplated motions is
                granted. Motions due 4/30/2021; Responses due 5/14/2021; Replies due 5/21/2021. (HEREBY ORDERED by Judge Mary Kay Vyskocil)(Text Only Order) (Entered: 02/08/2021)
03/10/2021   62 NOTICE OF APPEARANCE by Joseph Stewart Alonzo on behalf of The Palestine Liberation Organization, The Palestinian Authority..(Alonzo, Joseph) (Entered: 03/10/2021)
03/11/2021   63 PROPOSED STIPULATION AND ORDER. Document filed by The Palestine Liberation Organization, The Palestinian Authority..(Baloul, Gassan) (Entered: 03/11/2021)
03/11/2021   64 SUPERSEDING STIPULATION AND ORDER CONCERNING PRODUCTION OF CONFIDENTIAL DOCUMENTS AND INFORMATION...regarding procedures to be followed
                that shall govern the handling of confidential material... (Signed by Judge Mary Kay Vyskocil on 3/11/2021) (mro) (Entered: 03/11/2021)
03/24/2021   65 LETTER MOTION for Conference (Joint Letter Pursuant to Rule 3(D) of Judge Vyskocil's Individual Rules of Practice Requesting an Informal Conference Concerning Dispute Relating
                to Plaintiffs Document Request and Interrogatories in Connection with Jurisdictional Discovery) addressed to Judge Mary Kay Vyskocil from Stephen M. Sinaiko dated March 24, 2021.
                Document filed by Steven Braun, Hadassa Diner, Bella Friedman, Chana Friedman, Ilan Friedman, Miriam Friedman, Yehiel Friedman, Zvi Friedman, Yael Hillman, Ginette Lando
                Thaler, Tzippora Shatsky Schwarz, David Raphael Shatsky, Jo Ann Shatsky, Jo Anne Shatsky, Miriam Shatsky, Shabtai Scott Shatsky, Shabtai Shatsky, Yoseph Shatsky, Ginette Lando
                Thaler, Isaac Thaler, Leor Thaler, Michael Thaler(Individually), Michael Thaler, Zvi Thaler, Aron S. Trattner, Efrat Trattner, Hillel Trattner, Ronit Trattner, Shelley Trattner, Sara Shatsky
                Tzimmerman. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G).(Sinaiko, Stephen) (Entered: 03/24/2021)
03/24/2021   66 LETTER MOTION for Conference (Joint Letter Pursuant to Rule 3(D) of Judge Vyskocil's Individual Rules of Practice Requesting an Informal Conference Concerning Dispute Relating
                to Plaintiffs Deposition Notice in Connection with Jurisdictional Discovery) addressed to Judge Mary Kay Vyskocil from Stephen M. Sinaiko dated March 24, 2021. Document filed by
                Steven Braun, Hadassa Diner, Bella Friedman, Chana Friedman, Ilan Friedman, Miriam Friedman, Yehiel Friedman, Zvi Friedman, Yael Hillman, Ginette Lando Thaler, Tzippora Shatsky
                Schwarz, David Raphael Shatsky, Jo Ann Shatsky, Jo Anne Shatsky, Miriam Shatsky, Shabtai Scott Shatsky, Shabtai Shatsky, Yoseph Shatsky, Ginette Lando Thaler, Isaac Thaler, Leor
                Thaler, Michael Thaler(Individually), Michael Thaler, Zvi Thaler, Aron S. Trattner, Efrat Trattner, Hillel Trattner, Ronit Trattner, Shelley Trattner, Sara Shatsky Tzimmerman.
                (Attachments: # 1 Exhibit A).(Sinaiko, Stephen) (Entered: 03/25/2021)
03/31/2021   67 LETTER MOTION to Seal addressed to Judge Mary Kay Vyskocil from Gassan A. Baloul dated Mar. 31, 2021. Document filed by The Palestine Liberation Organization, The Palestinian
                Authority..(Baloul, Gassan) (Entered: 03/31/2021)
03/31/2021   68 ***SELECTED PARTIES***REDACTION to 67 LETTER MOTION to Seal addressed to Judge Mary Kay Vyskocil from Gassan A. Baloul dated Mar. 31, 2021. Sealed Document by
                All Defendants Motion or Order to File Under Seal: 67 .(Baloul, Gassan) (Entered: 03/31/2021)
04/06/2021   69 LETTER MOTION for Extension of Time to Complete Discovery (Letter Requesting Adjournment of the Discovery Cutoff Date and Briefing Deadlines Set Forth in February 8, 2021
                Order) addressed to Judge Mary Kay Vyskocil from Stephen M. Sinaiko dated April 6, 2021. Document filed by Steven Braun, Hadassa Diner, Bella Friedman, Chana Friedman, Ilan
                Friedman, Miriam Friedman, Yehiel Friedman, Zvi Friedman, Yael Hillman, Ginette Lando Thaler, Tzippora Shatsky Schwarz, David Raphael Shatsky, Jo Ann Shatsky, Jo Anne Shatsky,
                Miriam Shatsky, Shabtai Scott Shatsky, Shabtai Shatsky, Yoseph Shatsky, Ginette Lando Thaler, Isaac Thaler, Leor Thaler, Michael Thaler(Individually), Michael Thaler, Zvi Thaler, Aron
                S. Trattner, Efrat Trattner, Hillel Trattner, Ronit Trattner, Shelley Trattner, Sara Shatsky Tzimmerman..(Sinaiko, Stephen) (Entered: 04/06/2021)
04/08/2021   70 LETTER addressed to Judge Mary Kay Vyskocil from Gassan A. Baloul dated April 8, 2021 re: Response to Plaintiffs' Apr. 6, 2021 letter. Document filed by The Palestine Liberation
                Organization, The Palestinian Authority..(Baloul, Gassan) (Entered: 04/08/2021)
04/09/2021   71 LETTER MOTION for Conference (Joint Letter Pursuant to Rule 3(D) of Judge Vyskocil's Individual Rules of Practice Requesting an Informal Conference Concerning Dispute Relating
                to Plaintiffs' Requests for Admission in Connection with Jurisdictional Discovery) addressed to Judge Mary Kay Vyskocil from Stephen M. Sinaiko dated April 9, 2021. Document filed
                by Steven Braun, Hadassa Diner, Bella Friedman, Chana Friedman, Ilan Friedman, Miriam Friedman, Yehiel Friedman, Zvi Friedman, Yael Hillman, Ginette Lando Thaler, Tzippora
                Shatsky Schwarz, David Raphael Shatsky, Jo Ann Shatsky, Jo Anne Shatsky, Miriam Shatsky, Shabtai Scott Shatsky, Shabtai Shatsky, Yoseph Shatsky, Ginette Lando Thaler, Isaac Thaler,
                Leor Thaler, Michael Thaler(Individually), Aron S. Trattner, Efrat Trattner, Hillel Trattner, Ronit Trattner, Shelley Trattner, Sara Shatsky Tzimmerman. (Attachments: # 1 Exhibit A, # 2
                Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G).(Sinaiko, Stephen) (Entered: 04/09/2021)
04/13/2021   72 MOTION for Erica C. Lai to Appear Pro Hac Vice . Motion and supporting papers to be reviewed by Clerk's Office staff. Document filed by Steven Braun, Hadassa Diner, Bella
                Friedman, Chana Friedman, Ilan Friedman, Miriam Friedman, Yehiel Friedman, Zvi Friedman, Yael Hillman, Ginette Lando Thaler, Tzippora Shatsky Schwarz, David Raphael Shatsky,
                Jo Ann Shatsky, Jo Anne Shatsky, Miriam Shatsky, Shabtai Scott Shatsky, Shabtai Shatsky, Yoseph Shatsky, Ginette Lando Thaler, Isaac Thaler, Leor Thaler, Michael
                Thaler(Individually), Michael Thaler, Zvi Thaler, Aron S. Trattner, Efrat Trattner, Hillel Trattner, Ronit Trattner, Shelley Trattner, Sara Shatsky Tzimmerman. (Attachments: # 1 Affidavit,
                # 2 Text of Proposed Order, # 3 Exhibit Certificate of Good Standing DC, # 4 Exhibit Certificate of Good Standing MD, # 5 Exhibit Certificate of Good Standing CA, # 6 Exhibit
                Certificate of Good Standing VA).(Lai, Erica) ANYSDC-24391149 Modified on 4/14/2021 (vba). (Entered: 04/13/2021)
04/14/2021       >>>NOTICE REGARDING PRO HAC VICE MOTION. Regarding Document No. 72 MOTION for Erica C. Lai to Appear Pro Hac Vice . Motion and supporting papers to be
                 reviewed by Clerk's Office staff.. The document has been reviewed and there are no deficiencies. (vba) (Entered: 04/14/2021)
04/14/2021       Pro Hac Vice Fee Paid electronically via Pay.gov: for 72 MOTION for Erica C. Lai to Appear Pro Hac Vice . Motion and supporting papers to be reviewed by Clerk's Office staff.
                 Filing fee $ 200.00. Pay.gov receipt number ANYSDC-24391149, paid on 4/13/2021. (aea) (Entered: 04/14/2021)
04/14/2021   73 ORDER granting 72 Motion for Erica C Lai to Appear Pro Hac Vice (HEREBY ORDERED by Judge Mary Kay Vyskocil)(Text Only Order) (rz) (Entered: 04/14/2021)
04/20/2021   74 ORDER granting 65 Letter Motion for Conference re: 65 LETTER MOTION for Conference (Joint Letter Pursuant to Rule 3(D) of Judge Vyskocil's Individual Rules of Practice
                Requesting an Informal Conference Concerning Dispute Relating to Plaintiffs Document Request and Interrogatories in Connection, 66 LETTER MOTION for Conference (Joint Letter
                                Case 22-1138, Document 12, 06/06/2022, 3327148, Page10 of 28
                 Pursuant to Rule 3(D) of Judge Vyskocil's Individual Rules of Practice Requesting an Informal Conference Concerning Dispute Relating to Plaintiffs Deposition Notice in Connection
                 with Jurisdictional ; granting 66 Letter Motion for Conference re: 65 LETTER MOTION for Conference (Joint Letter Pursuant to Rule 3(D) of Judge Vyskocil's Individual Rules of
                 Practice Requesting an Informal Conference Concerning Dispute Relating to Plaintiffs Document Request and Interrogatories in Connection, 66 LETTER MOTION for Conference (Joint
                 Letter Pursuant to Rule 3(D) of Judge Vyskocil's Individual Rules of Practice Requesting an Informal Conference Concerning Dispute Relating to Plaintiffs Deposition Notice in
                 Connection with Jurisdictional. The Court is in receipt of: (1) the parties' letters regarding their discovery disputes [ECF #65, 66]; (2) Defendants' request to seal an exhibit that Plaintiffs
                 filed in connection with those letters [ECF #67]; and (3) Plaintiffs' request to extend the deadline for jurisdictional discovery, as well as Defendants' response in opposition to Plaintiffs
                 request [ECF #69, 70]. Accordingly, IT IS HEREBY ORDERED that the parties shall appear for a conference on April 29, 2021 at 3:30 PM. The conference will be held by telephone. To
                 join, call 888-278-0296 at the scheduled time. When prompted, enter Access Code 5195844. The Clerk of Court is respectfully directed to terminate the letter motions pending at docket
                 entries 65 and 66. SO ORDERED., Telephone Conference set for 4/29/2021 at 03:30 PM before Judge Mary Kay Vyskocil.. (Signed by Judge Mary Kay Vyskocil on 4/20/2021) (rj)
                 (Entered: 04/21/2021)
04/23/2021   75 SCHEDULING ORDER: Because of changes in the Court's calendar, the conference that was scheduled to take place on April 29, 2021 at 3:30 PM shall take place on April 29, 2021 at
                1:30 PM. The Court apologizes for any inconvenience to the parties. SO ORDERED. ( Telephone Conference set for 4/29/2021 at 01:30 PM before Judge Mary Kay Vyskocil.) (Signed by
                Judge Mary Kay Vyskocil on 4/23/2021) (va) (Entered: 04/23/2021)
04/23/2021   76 LETTER addressed to Judge Mary Kay Vyskocil from Stephen M. Sinaiko dated April 23, 2021 re: Request that the Court Address, During the April 29 Conference, the Parties' Dispute
                Concerning Defendants' Responses and Objections to Plaintiffs' Requests for Admissions and the Timing of Plaintiffs' Anticipated Request for Discovery Under Rule 56(d).. Document
                filed by Steven Braun, Hadassa Diner, Bella Friedman, Chana Friedman, Ilan Friedman, Miriam Friedman, Yehiel Friedman, Zvi Friedman, Yael Hillman, Ginette Lando Thaler, Tzippora
                Shatsky Schwarz, David Raphael Shatsky, Jo Ann Shatsky, Jo Anne Shatsky, Miriam Shatsky, Shabtai Scott Shatsky, Shabtai Shatsky, Yoseph Shatsky, Ginette Lando Thaler, Isaac Thaler,
                Leor Thaler, Michael Thaler(Individually), Michael Thaler, Zvi Thaler, Aron S. Trattner, Efrat Trattner, Hillel Trattner, Ronit Trattner, Shelley Trattner, Sara Shatsky Tzimmerman..
                (Sinaiko, Stephen) (Entered: 04/23/2021)
04/26/2021   77 LETTER addressed to Judge Mary Kay Vyskocil from Gassan A. Baloul dated April 26, 2021 re: Plaintiffs' Apr. 23, 2021 letter. Document filed by The Palestine Liberation Organization,
                The Palestinian Authority..(Baloul, Gassan) (Entered: 04/26/2021)
04/26/2021   78 NOTICE OF APPEARANCE by Abbe David Lowell on behalf of Steven Braun, Hadassa Diner, Bella Friedman, Chana Friedman, Ilan Friedman, Miriam Friedman, Yehiel Friedman,
                Zvi Friedman, Yael Hillman, Ginette Lando Thaler, Tzippora Shatsky Schwarz, David Raphael Shatsky, Jo Ann Shatsky, Jo Anne Shatsky, Miriam Shatsky, Shabtai Scott Shatsky, Shabtai
                Shatsky, Yoseph Shatsky, Ginette Lando Thaler, Isaac Thaler, Leor Thaler, Michael Thaler(Individually), Michael Thaler, Zvi Thaler, Aron S. Trattner, Efrat Trattner, Hillel Trattner, Ronit
                Trattner, Shelley Trattner, Sara Shatsky Tzimmerman..(Lowell, Abbe) (Entered: 04/26/2021)
04/26/2021   79 NOTICE OF APPEARANCE by Sofia Roa Arguello on behalf of Steven Braun, Hadassa Diner, Bella Friedman, Chana Friedman, Ilan Friedman, Miriam Friedman, Yehiel Friedman, Zvi
                Friedman, Yael Hillman, Ginette Lando Thaler, Tzippora Shatsky Schwarz, David Raphael Shatsky, Jo Ann Shatsky, Jo Anne Shatsky, Miriam Shatsky, Shabtai Scott Shatsky, Shabtai
                Shatsky, Yoseph Shatsky, Ginette Lando Thaler, Isaac Thaler, Leor Thaler, Michael Thaler(Individually), Michael Thaler, Zvi Thaler, Aron S. Trattner, Efrat Trattner, Hillel Trattner, Ronit
                Trattner, Shelley Trattner, Sara Shatsky Tzimmerman..(Arguello, Sofia) (Entered: 04/26/2021)
04/29/2021       Minute Entry for proceedings held before Judge Mary Kay Vyskocil: Telephone Conference held on 4/29/2021. (rz) (Entered: 04/29/2021)
04/29/2021   80 ORDER granting 69 Letter Motion for Extension of Time to Complete Discovery; denying 71 Letter Motion for Conference re: 69 LETTER MOTION for Extension of Time to Complete
                Discovery (Letter Requesting Adjournment of the Discovery Cutoff Date and Briefing Deadlines Set Forth in February 8, 2021 Order) addressed to Judge Mary Kay Vyskocil from
                Stephen M. Sinaiko da, 71 LETTER MOTION for Conference (Joint Letter Pursuant to Rule 3(D) of Judge Vyskocil's Individual Rules of Practice Requesting an Informal Conference
                Concerning Dispute Relating to Plaintiffs' Requests for Admission in Connection with Jur. On April 29, 2021, the Court held a conference in this matter. The Court issued several orders
                on the parties' discovery disputes from the bench. As the Court explained more fully at the conference, IT IS HEREBY ORDERED that, absent a stipulation to personal jurisdiction under
                the PSJVTA as written, reserving all challenges to the statute itself, Defendants' objection that they have already satisfied jurisdictional discovery is overruled. However, Plaintiffs' must
                narrow their overbroad discovery requests. The Court admonishes both sides to work together to narrow and complete the jurisdictional discovery, consistent with the Court's rulings and
                guidance at the conference. Counsel and the parties are on notice that further discovery abuses will not be tolerated and will result in sanctions. IT IS FURTHER ORDERED that
                Plaintiffs shall serve revised document requests and interrogatories by May 10, 2021. Defendants shall respond by June 10, 2021. IT IS FURTHER ORDERED that the witnesses
                Plaintiffs have noticed for depositions must be produced. The depositions are limited to the bases for jurisdiction under the statute, and Defendants may assert objections consistent with
                the Court's instructions. IT IS FURTHER ORDERED that all jurisdictional discovery shall be completed by July 9, 2021. No further extensions of jurisdictional discovery will be granted.
                Any motion for a protective order or motion to compel must be filed sufficiently in advance to obtain a ruling and complete discovery before the July 9 deadline. IT IS FURTHER
                ORDERED that Plaintiffs' request for discovery, under Rule 56(d) of the Federal Rules of Civil Procedure, in connection with Defendants' not-yet filed motion for summary judgment
                [ECF #76, 77] is DENIED as premature. IT IS FURTHER ORDERED that Defendants shall file their contemplated dispositive motions by July 30, 2021. Plaintiffs shall respond by
                August 20, 2021. Defendants shall reply by September 3, 2021. The Clerk of Court is respectfully directed to terminate the letter motions pending at docket entries 69 and 71. SO
                ORDERED. (Signed by Judge Mary Kay Vyskocil on 4/29/2021) (kv) (Entered: 04/29/2021)
04/29/2021       Set/Reset Deadlines: Discovery due by 7/9/2021. Motions due by 7/30/2021. Responses due by 8/20/2021 Replies due by 9/3/2021. (kv) (Entered: 04/29/2021)
05/04/2021   81 TRANSCRIPT of Proceedings re: Telephone Conference held on 4/29/2021 before Judge Mary Kay Vyskocil. Court Reporter/Transcriber: Carole Ludwig, (212) 420-0771. Transcript
                may be viewed at the court public terminal or purchased through the Court Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that date it may be
                obtained through PACER. Redaction Request due 5/25/2021. Redacted Transcript Deadline set for 6/4/2021. Release of Transcript Restriction set for 8/2/2021..(ks) (Entered: 05/04/2021)
05/04/2021   82 NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an official transcript of a Telephone Conference proceeding held on 4/29/2021 has been filed by the court
                reporter/transcriber in the above-captioned matter. The parties have seven (7) calendar days to file with the court a Notice of Intent to Request Redaction of this transcript. If no such
                Notice is filed, the transcript may be made remotely electronically available to the public without redaction after 90 calendar days....(ks) (Entered: 05/04/2021)
06/04/2021   83 MOTION for Erica C. Lai to Withdraw as Attorney . Document filed by Steven Braun, Hadassa Diner, Bella Friedman, Chana Friedman, Ilan Friedman, Miriam Friedman, Yehiel
                Friedman, Zvi Friedman, Yael Hillman, Ginette Lando Thaler, Tzippora Shatsky Schwarz, David Raphael Shatsky, Jo Ann Shatsky, Jo Anne Shatsky, Miriam Shatsky, Shabtai Scott
                Shatsky, Shabtai Shatsky, Yoseph Shatsky, Ginette Lando Thaler, Isaac Thaler, Leor Thaler, Michael Thaler(Individually), Michael Thaler, Zvi Thaler, Aron S. Trattner, Efrat Trattner,
                Hillel Trattner, Ronit Trattner, Shelley Trattner, Sara Shatsky Tzimmerman..(Lai, Erica) (Entered: 06/04/2021)
06/07/2021   84 MEMO ENDORSEMENT granting 83 Motion to Withdraw as Attorney. ENDORSEMENT: Granted. SO ORDERED. Attorney Erica Courtney Lai terminated. (Signed by Judge Mary
                Kay Vyskocil on 6/7/2021) (vfr) (Entered: 06/07/2021)
06/23/2021   85 NOTICE OF APPEARANCE by Eszter Agnes Vincze on behalf of Steven Braun, Hadassa Diner, Bella Friedman, Chana Friedman, Ilan Friedman, Miriam Friedman, Yehiel Friedman,
                Zvi Friedman, Yael Hillman, Ginette Lando Thaler, Tzippora Shatsky Schwarz, David Raphael Shatsky, Jo Anne Shatsky, Miriam Shatsky, Shabtai Scott Shatsky, Yoseph Shatsky, Isaac
                Thaler, Leor Thaler, Michael Thaler(Individually), Zvi Thaler, Aron S. Trattner, Efrat Trattner, Hillel Trattner, Ronit Trattner, Shelley Trattner, Sara Shatsky Tzimmerman..(Vincze,
                Eszter) (Entered: 06/23/2021)
06/23/2021   86 FILING ERROR - DEFICIENT DOCKET ENTRY - MOTION for Melissa H. Maxman to Appear Pro Hac Vice . Filing fee $ 200.00, receipt number ANYSDC-24709747. Motion
                and supporting papers to be reviewed by Clerk's Office staff. Document filed by Steven Braun, Hadassa Diner, Bella Friedman, Chana Friedman, Ilan Friedman, Miriam Friedman,
                Yehiel Friedman, Zvi Friedman, Yael Hillman, Ginette Lando Thaler, Tzippora Shatsky Schwarz, David Raphael Shatsky, Jo Anne Shatsky, Miriam Shatsky, Shabtai Scott Shatsky,
                Yoseph Shatsky, Isaac Thaler, Leor Thaler, Michael Thaler(Individually), Zvi Thaler, Aron S. Trattner, Efrat Trattner, Hillel Trattner, Ronit Trattner, Shelley Trattner, Sara Shatsky
                Tzimmerman. (Attachments: # 1 Affidavit of Melissa H. Maxman in Support of Motion to Admit Counsel Pro Hac Vice, # 2 Exhibit - Certificate of Good Standing in District of Columbia
                Court of Appeals, # 3 Exhibit - Certificate of Good Standing in Court of Appeals of Maryland, # 4 Exhibit - Certificate of Good Standing in Supreme Court of Pennsylvania).(Maxman,
                Melissa) Modified on 6/24/2021 (aea). (Entered: 06/23/2021)
06/23/2021   87 FILING ERROR - DEFICIENT DOCKET ENTRY - PROPOSED ORDER. Document filed by Steven Braun, Hadassa Diner, Bella Friedman, Chana Friedman, Ilan Friedman,
                Miriam Friedman, Yehiel Friedman, Zvi Friedman, Yael Hillman, Ginette Lando Thaler, Tzippora Shatsky Schwarz, David Raphael Shatsky, Jo Anne Shatsky, Miriam Shatsky, Shabtai
                Scott Shatsky, Yoseph Shatsky, Isaac Thaler, Leor Thaler, Michael Thaler(Individually), Zvi Thaler, Aron S. Trattner, Efrat Trattner, Hillel Trattner, Ronit Trattner, Shelley Trattner, Sara
                Shatsky Tzimmerman. Related Document Number: 86 ..(Maxman, Melissa) Proposed Order to be reviewed by Clerk's Office staff. Modified on 6/24/2021 (aea). (Entered:
                06/23/2021)
06/23/2021   88 FILING ERROR - DEFICIENT DOCKET ENTRY - AFFIDAVIT of Melissa H. Maxman in Support re: 86 MOTION for Melissa H. Maxman to Appear Pro Hac Vice . Filing fee $
                200.00, receipt number ANYSDC-24709747. Motion and supporting papers to be reviewed by Clerk's Office staff.. Document filed by Steven Braun, Hadassa Diner, Bella Friedman,
                Chana Friedman, Ilan Friedman, Miriam Friedman, Yehiel Friedman, Zvi Friedman, Yael Hillman, Ginette Lando Thaler, Tzippora Shatsky Schwarz, David Raphael Shatsky, Jo Anne
                Shatsky, Miriam Shatsky, Shabtai Scott Shatsky, Yoseph Shatsky, Isaac Thaler, Leor Thaler, Michael Thaler(Individually), Zvi Thaler, Aron S. Trattner, Efrat Trattner, Hillel Trattner,
                Ronit Trattner, Shelley Trattner, Sara Shatsky Tzimmerman. (Attachments: # 1 Exhibit - Certificate of Good Standing in District of Columbia Court of Appeals,, # 2 Exhibit - Certificate
                of Good Standing in Court of Appeals of Maryland, # 3 Exhibit - Certificate of Good Standing in Supreme Court of Pennsylvania, # 4 Exhibit - Certificate of Good Standing in Supreme
                Court of Virginia).(Maxman, Melissa) Modified on 6/24/2021 (aea). (Entered: 06/23/2021)
06/24/2021       >>>NOTICE REGARDING DEFICIENT MOTION TO APPEAR PRO HAC VICE. Notice to RE-FILE Document No. 88 Affidavit in Support of Motion, 86 MOTION for
                 Melissa H. Maxman to Appear Pro Hac Vice . Filing fee $ 200.00, receipt number ANYSDC-24709747. Motion and supporting papers to be reviewed by Clerk's Office staff. 87
                 Proposed Order. The filing is deficient for the following reason(s): The motion to appear PHV and supporting documents all need to be filed under 1 docket entry. Re-file the
                 motion as a Motion to Appear Pro Hac Vice - attach the correct signed PDF - select the correct named filer/filers - attach valid Certificates of Good Standing issued within the
                 past 30 days - attach Proposed Order. (aea) (Entered: 06/24/2021)
06/24/2021   89 MOTION for Melissa H. Maxman to Appear Pro Hac Vice . Motion and supporting papers to be reviewed by Clerk's Office staff. Document filed by Steven Braun, Hadassa Diner,
                Bella Friedman, Chana Friedman, Ilan Friedman, Miriam Friedman, Yehiel Friedman, Zvi Friedman, Yael Hillman, Ginette Lando Thaler, Tzippora Shatsky Schwarz, David Raphael
                                 Case 22-1138, Document 12, 06/06/2022, 3327148, Page11 of 28
                   Shatsky, Jo Anne Shatsky, Miriam Shatsky, Shabtai Scott Shatsky, Yoseph Shatsky, Isaac Thaler, Leor Thaler, Michael Thaler(Individually), Zvi Thaler, Aron S. Trattner, Efrat Trattner,
                   Hillel Trattner, Ronit Trattner, Shelley Trattner, Sara Shatsky Tzimmerman. (Attachments: # 1 Affidavit of Melissa H. Maxman in Support of Motion to Admit Counsel Pro Hac Vice, # 2
                   Exhibit - Certificate of Good Standing in the District of Colombia Court of Appeals, # 3 Exhibit - Certificate of Good Standing in the Court of Appeals of Maryland, # 4 Exhibit -
                   Certificate of Good Standing in the Supreme Court of Pennsylvania, # 5 Exhibit - Certificate of Good Standing in the Supreme Court of Virginia, # 6 Text of Proposed Order - for Melissa
                   H. Maxman to Appear Pro Hac Vice).(Maxman, Melissa) (Entered: 06/24/2021)
06/24/2021    90 JOINT LETTER addressed to Judge Mary Kay Vyskocil from Gassan A. Baloul dated June 24, 2021 re: Joint Letter regarding Depositions on behalf of Plaintiffs and Defendants.
                 Document filed by The Palestine Liberation Organization, The Palestinian Authority..(Baloul, Gassan) (Entered: 06/24/2021)
06/25/2021         >>>NOTICE REGARDING PRO HAC VICE MOTION. Regarding Document No. 89 MOTION for Melissa H. Maxman to Appear Pro Hac Vice . Motion and supporting
                   papers to be reviewed by Clerk's Office staff.. The document has been reviewed and there are no deficiencies. (aea) (Entered: 06/25/2021)
06/25/2021    91 ORDER granting 89 Motion for Melissa H Maxman to Appear Pro Hac Vice (HEREBY ORDERED by Judge Mary Kay Vyskocil)(Text Only Order) (rz) (Entered: 06/25/2021)
06/25/2021    92 MEMO ENDORSEMENT on re: 90 Letter re: Joint Letter regarding Depositions on behalf of Plaintiffs and Defendants., filed by The Palestinian Authority, The Palestine Liberation
                 Organization. ENDORSEMENT: This request is GRANTED. All depositions due July 30, 2021. Defendants shall file their contemplated dispositive motions by August 20, 2021.
                 Plaintiffs shall respond by September 20, 2021, and Defendants shall reply by October 6, 2021., Deposition due by 7/30/2021., Motions due by 8/20/2021., Responses due by 9/20/2021,
                 Replies due by 10/6/2021. (Signed by Judge Mary Kay Vyskocil on 6/25/2021) (rj) (Entered: 06/25/2021)
06/29/2021    93 ORDER REFERRING CASE TO MAGISTRATE JUDGE. Order that case be referred to the Clerk of Court for assignment to a Magistrate Judge for Specific Non-Dispositive
                 Motion/Dispute: objections to scope of questioning during depositions for jurisdictional discovery. Referred to Magistrate Judge Debra C. Freeman. SO ORDERED. Motions referred to
                 Debra C. Freeman. (Signed by Judge Mary Kay Vyskocil on 6/29/2021) (rj) (Entered: 06/29/2021)
06/29/2021    94 MOTION to Intervene - Unopposed Letter Motion for Permissive Intervention to Modify Superseding Stipulation and Order Concerning Production of Confidential Documents and
                 Information. Document filed by Arnold & Porter Kaye Scholer LLP..(Yalowitz, Kent) (Entered: 06/29/2021)
07/01/2021         Set/Reset Hearings: Telephone Conference set for 7/6/2021 at 11:00 AM before Magistrate Judge Debra C. Freeman. The parties should call Toll-Free Number: 877-411-9748 and use
                   Access Code: 9612281 (aba) Modified on 7/1/2021 (aba). (Entered: 07/01/2021)
07/02/2021    95 MEMO ENDORSEMENT granting 94 Motion to Intervene. ENDORSEMENT: Granted. SO ORDERED. (Signed by Judge Mary Kay Vyskocil on 7/2/2021) (vfr) (Entered: 07/02/2021)
07/06/2021         Minute Entry for proceedings held before Magistrate Judge Debra C. Freeman: Discovery Hearing held via telephone on 7/6/2021. (aba) (Entered: 07/06/2021)
07/15/2021    96 TRANSCRIPT of Proceedings re: Telephone Conference held on 7/6/2021 before Judge Mary Kay Vyskocil. Court Reporter/Transcriber: Carole Ludwig, (212) 420-0771. Transcript may
                 be viewed at the court public terminal or purchased through the Court Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that date it may be obtained
                 through PACER. Redaction Request due 8/5/2021. Redacted Transcript Deadline set for 8/16/2021. Release of Transcript Restriction set for 10/13/2021. (va) (Entered: 07/15/2021)
07/15/2021    97 NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an official transcript of a Telephone Conference proceeding held on 7/6/2021 has been filed by the court
                 reporter/transcriber in the above-captioned matter. The parties have seven (7) calendar days to file with the court a Notice of Intent to Request Redaction of this transcript. If no such
                 Notice is filed, the transcript may be made remotely electronically available to the public without redaction after 90 calendar days... (va) (Entered: 07/15/2021)
07/27/2021         Minute Entry for proceedings held before Magistrate Judge Debra C. Freeman: Discovery Hearing held via telephone on 7/27/2021. (aba) (Entered: 07/27/2021)
08/14/2021    98 LETTER MOTION to Seal Letter-Motion to Judge Freeman for permission to file under seal and in redacted form addressed to Magistrate Judge Debra C. Freeman from Kent A.
                 Yalowitz dated August 13, 2021. Document filed by Arnold & Porter Kaye Scholer LLP..(Yalowitz, Kent) (Entered: 08/14/2021)
08/14/2021    99 LETTER addressed to Magistrate Judge Debra C. Freeman from Kent A. Yalowitz dated August 13, 2021 re: defendants claim of functional immunity [REDACTED]. Document filed by
                 Arnold & Porter Kaye Scholer LLP. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7, # 8 Exhibit 8, # 9 Exhibit 9).
                 (Yalowitz, Kent) (Entered: 08/14/2021)
08/14/2021   100 ***SELECTED PARTIES*** LETTER addressed to Magistrate Judge Debra C. Freeman from Kent A. Yalowitz dated August 13, 2021 re: defendants claim of functional immunity
                 [UNDER SEAL]. Document filed by Arnold & Porter Kaye Scholer LLP. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6, # 7 Exhibit
                 7, # 8 Exhibit 8, # 9 Exhibit 9)Motion or Order to File Under Seal: 98 .(Yalowitz, Kent) (Entered: 08/14/2021)
08/16/2021   101 LETTER addressed to Magistrate Judge Debra C. Freeman from Kent A. Yalowitz dated August 13, 2021 re: Letter to Judge Freeman re defendants claim of functional immunity
                 [REDACTED] Related DKT 98 . Document filed by Arnold & Porter Kaye Scholer LLP. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5, # 6 Exhibit
                 6, # 7 Exhibit 7, # 8 Exhibit 8, # 9 Exhibit 9).(Yalowitz, Kent) (Entered: 08/16/2021)
08/17/2021   102 LETTER MOTION to Seal for permission to file under seal addressed to Magistrate Judge Debra C. Freeman from Gassan A. Baloul dated August 17, 2021. Document filed by The
                 Palestine Liberation Organization, The Palestinian Authority..(Baloul, Gassan) (Entered: 08/17/2021)
08/17/2021   103 ***SELECTED PARTIES*** LETTER addressed to Magistrate Judge Debra C. Freeman from Gassan A. Baloul dated August 17, 2021 re: confidentiality of depositions. Document filed
                 by The Palestine Liberation Organization, The Palestinian Authority. (Attachments: # 1 Exhibit 1)Motion or Order to File Under Seal: 102 .(Baloul, Gassan) (Entered: 08/17/2021)
08/17/2021   104 LETTER addressed to Magistrate Judge Debra C. Freeman from Michael Wagenheim, re: I submit to you a Motion to Intervene in the case of Statsky v. Palestine Liberation Organization.
                 The documents at issue have been presented to Judge Daniels in Sokolow(ECF No. 1039 in Sokolow, attached) and the documents will likely be filed again in the Shatsky case when the
                 parties brief the jurisdiction issue starting 8/20/21 etc. This motion to intervene on behalf of my media outlet, 124NEWS, is made with interest in the global and political issues being
                 litigated in your Court. I submit that the public's right of access to judicial records in a case of such profound public concern-and where the presumption of public access is, under well-
                 established precedent, should not, and as a matter of law cannot, be denied without a judicial determination on the record etc. (Attachments: # 1 Exhibit, # 2 Exhibit)(sc) (Entered:
                 08/18/2021)
08/18/2021   105 LETTER addressed to Magistrate Judge Debra C. Freeman from Gassan A. Baloul dated August 17, 2021 re: Dkt. 102 Letter re. condidentiality of depositions [REDACTED]. Document
                 filed by The Palestine Liberation Organization, The Palestinian Authority. (Attachments: # 1 Exhibit 1).(Baloul, Gassan) (Entered: 08/18/2021)
08/18/2021   106 LETTER addressed to Judge Mary Kay Vyskocil from Jeffrey Fleischmann dated August 18, 2021 Document filed by Miriam Fuld, Natan Shai Fuld, Naomi Fuld, Tamar Gila Fuld,
                 Eliezer Yakir Fuld..(Fleischmann, Jeffrey) (Entered: 08/18/2021)
08/18/2021   107 FILING ERROR - DEFICIENT DOCKET ENTRY - FILER ERROR -(SEE #113) ***SELECTED PARTIES*** LETTER addressed to Magistrate Judge Debra C. Freeman from
                 Kent A. Yalowitz dated August 18, 2021 re: Reply Letter to Judge Freeman in Support of [ECF 100] Letter-Motion re Claim of Functional Immunity [FILED UNDER SEAL].. Document
                 filed by Chana Friedman, David Raphael Shatsky, Bella Friedman, Efrat Trattner, Jo Anne Shatsky, Tamar Gila Fuld, Shabtai Scott Shatsky, Miriam Fuld, Arnold & Porter Kaye Scholer
                 LLP, Hadassa Diner, Naomi Fuld, Shelley Trattner, The Palestine Liberation Organization, Zvi Friedman, The Palestinian Authority, Ronit Trattner, Steven Braun, Ginette Lando Thaler,
                 Yehiel Friedman, Leor Thaler, Zvi Thaler, Jo Ann Shatsky, Ilan Friedman, Eliezer Yakir Fuld, Hillel Trattner, Miriam Friedman, Shabtai Shatsky, Miriam Shatsky, Natan Shai Fuld,
                 Tzippora Shatsky Schwarz, Michael Thaler(Individually), Isaac Thaler, Aron S. Trattner, Ginette Lando Thaler, Yoseph Shatsky, Michael Thaler, Yael Hillman, Sara Shatsky
                 Tzimmerman.Motion or Order to File Under Seal: 98 .(Yalowitz, Kent) Modified on 8/20/2021 (kj). (Entered: 08/18/2021)
08/18/2021   108 LETTER addressed to Magistrate Judge Debra C. Freeman from Kent A. Yalowitz dated August 18, 2021 re: Reply Letter to Judge Freeman in Support of [ECF 100] Letter-Motion re
                 Claim of Functional Immunity [REDACTED].. Document filed by Arnold & Porter Kaye Scholer LLP..(Yalowitz, Kent) (Entered: 08/18/2021)
08/19/2021   109 NOTICE OF APPEARANCE by Jeffrey Fleischmann on behalf of Eliezer Yakir Fuld, Miriam Fuld, Naomi Fuld, Natan Shai Fuld, Tamar Gila Fuld..(Fleischmann, Jeffrey) (Entered:
                 08/19/2021)
08/19/2021   110 LETTER addressed to Judge Mary Kay Vyskocil from Gassan A. Baloul dated August 19, 2021 re: Response to Jeffrey Fleischmanns letter dated August 18, 2021 (Dkt. No. 106).
                 Document filed by The Palestine Liberation Organization, The Palestinian Authority..(Baloul, Gassan) (Entered: 08/19/2021)
08/19/2021   111 LETTER addressed to Judge Mary Kay Vyskocil from Jeffrey Fleischmann dated August 19, 2021 Document filed by Eliezer Yakir Fuld, Miriam Fuld, Naomi Fuld, Natan Shai Fuld,
                 Tamar Gila Fuld..(Fleischmann, Jeffrey) (Entered: 08/19/2021)
08/19/2021   112 LETTER addressed to Judge Mary Kay Vyskocil from Jeffrey Fleischmann dated August 19, 2021 Document filed by Eliezer Yakir Fuld, Miriam Fuld, Naomi Fuld, Natan Shai Fuld,
                 Tamar Gila Fuld. (Attachments: # 1 Exhibit 1).(Fleischmann, Jeffrey) (Entered: 08/19/2021)
08/19/2021   113 ***SELECTED PARTIES*** LETTER addressed to Magistrate Judge Debra C. Freeman from Kent A. Yalowitz dated August 18, 2021 re: Reply Letter to Judge Freeman in Support of
                 [ECF 100] Letter-Motion re Claim of Functional Immunity [FILED UNDER SEAL]. Document filed by Arnold & Porter Kaye Scholer LLP.Motion or Order to File Under Seal: 98 .
                 (Yalowitz, Kent) (Entered: 08/19/2021)
08/20/2021   114 LETTER addressed to Magistrate Judge Debra C. Freeman from Gassan A. Baloul dated August 20, 2021 re: Response to Michael Wagenheims letter dated August 17, 2021 (Dkt. No.
                 104). Document filed by The Palestine Liberation Organization, The Palestinian Authority..(Baloul, Gassan) (Entered: 08/20/2021)
08/20/2021   115 MOTION to Dismiss for Lack of Jurisdiction . Document filed by The Palestine Liberation Organization, The Palestinian Authority..(Baloul, Gassan) (Entered: 08/20/2021)
08/20/2021   116 MEMORANDUM OF LAW in Support re: 115 MOTION to Dismiss for Lack of Jurisdiction . . Document filed by The Palestine Liberation Organization, The Palestinian Authority..
                 (Baloul, Gassan) (Entered: 08/20/2021)
08/20/2021   117 DECLARATION of Joseph S. Alonzo in Support re: 115 MOTION to Dismiss for Lack of Jurisdiction .. Document filed by The Palestine Liberation Organization, The Palestinian
                                 Case 22-1138, Document 12, 06/06/2022, 3327148, Page12 of 28
                   Authority. (Attachments: # 1 Exhibit Exhibit A - Part 1, # 2 Exhibit Exhibit A - Part 2, # 3 Exhibit Exhibit B).(Baloul, Gassan) (Entered: 08/20/2021)
08/20/2021   118 MOTION for Summary Judgment On The Federal Claims and Motion to Dismiss The Non-Federal Claims. Document filed by The Palestine Liberation Organization, The Palestinian
                 Authority..(Baloul, Gassan) (Entered: 08/20/2021)
08/20/2021   119 MEMORANDUM OF LAW in Support re: 118 MOTION for Summary Judgment On The Federal Claims and Motion to Dismiss The Non-Federal Claims. . Document filed by The
                 Palestine Liberation Organization, The Palestinian Authority..(Baloul, Gassan) (Entered: 08/20/2021)
08/20/2021   120 DECLARATION of Joseph S. Alonzo in Support re: 118 MOTION for Summary Judgment On The Federal Claims and Motion to Dismiss The Non-Federal Claims.. Document filed by
                 The Palestine Liberation Organization, The Palestinian Authority. (Attachments: # 1 Exhibit A-Shatsky I Answer, # 2 Exhibit B-Oslo I, # 3 Exhibit C-Amayra Depo, # 4 Exhibit D-
                 Barahme Depo, # 5 Exhibit E-Malouh Depo, # 6 Exhibit F-Amawi Depo, # 7 Exhibit G-Dahbour Depo., # 8 Exhibit H-Decree Outlawing PFLP ECF 98-1, # 9 Exhibit I-Complete Oslo II
                 Accords-ECF 330-36, # 10 Exhibit J-Defendants Interrogatory Responses ECF 330-37, # 11 Exhibit K-Shatsky I Order Striking Experts-ECF 242).(Baloul, Gassan) (Entered: 08/20/2021)
08/20/2021   121 RULE 56.1 STATEMENT. Document filed by The Palestine Liberation Organization, The Palestinian Authority..(Baloul, Gassan) (Entered: 08/20/2021)
08/25/2021   122 NOTICE of Constitutional Challenge. Document filed by The Palestine Liberation Organization, The Palestinian Authority..(Baloul, Gassan) (Entered: 08/25/2021)
08/25/2021   123 CERTIFICATE OF SERVICE of Notice of Constitutional Challenge served on U.S. Attorney General on 8/25/21. Service was made by Certified Mail. Document filed by The Palestine
                 Liberation Organization, The Palestinian Authority..(Baloul, Gassan) (Entered: 08/25/2021)
08/31/2021   124 LETTER addressed to Judge Mary Kay Vyskocil from Stephen M. Sinaiko dated August 31, 2021 re: Issuance of Certification of Constitutional Challenge. Document filed by Steven
                 Braun, Hadassa Diner, Bella Friedman, Chana Friedman, Ilan Friedman, Miriam Friedman, Yehiel Friedman, Zvi Friedman, Ginette Lando Thaler, Tzippora Shatsky Schwarz, David
                 Raphael Shatsky, Jo Ann Shatsky, Jo Anne Shatsky, Miriam Shatsky, Shabtai Scott Shatsky, Shabtai Shatsky, Yoseph Shatsky, Ginette Lando Thaler, Isaac Thaler, Leor Thaler, Michael
                 Thaler(Individually), Michael Thaler, Zvi Thaler, Aron S. Trattner, Efrat Trattner, Hillel Trattner, Ronit Trattner, Shelley Trattner, Sara Shatsky Tzimmerman. (Attachments: # 1 Exhibit
                 A).(Sinaiko, Stephen) (Entered: 08/31/2021)
09/06/2021   125 CONSENT LETTER MOTION for Extension of Time to File Response/Reply as to 118 MOTION for Summary Judgment On The Federal Claims and Motion to Dismiss The Non-
                 Federal Claims., 115 MOTION to Dismiss for Lack of Jurisdiction . addressed to Judge Mary Kay Vyskocil from Plaintiffs dated September 6, 2021. Document filed by Steven Braun,
                 Hadassa Diner, Bella Friedman, Chana Friedman, Ilan Friedman, Miriam Friedman, Yehiel Friedman, Zvi Friedman, Yael Hillman, Ginette Lando Thaler, Tzippora Shatsky Schwarz,
                 David Raphael Shatsky, Jo Ann Shatsky, Jo Anne Shatsky, Miriam Shatsky, Shabtai Scott Shatsky, Shabtai Shatsky, Yoseph Shatsky, Ginette Lando Thaler, Isaac Thaler, Leor Thaler,
                 Michael Thaler(Individually), Michael Thaler, Zvi Thaler, Aron S. Trattner, Efrat Trattner, Hillel Trattner, Ronit Trattner, Shelley Trattner, Sara Shatsky Tzimmerman..(Lowell, Abbe)
                 (Entered: 09/06/2021)
09/10/2021   126 ORDER granting 125 Letter Motion for Extension of Time to File Response/Reply re 125 CONSENT LETTER MOTION for Extension of Time to File Response/Reply as to 118
                 MOTION for Summary Judgment On The Federal Claims and Motion to Dismiss The Non-Federal Claims., 115 MOTION to Dismiss for Lack of Jurisdiction . Granted. SO ORDERED.
                 Responses due by 10/4/2021 Replies due by 10/27/2021. (Signed by Judge Mary Kay Vyskocil on 9/10/2021) (tg) (Entered: 09/10/2021)
09/13/2021   127 NOTICE OF APPEARANCE by Oliver Scott Haker on behalf of Steven Braun, Hadassa Diner, Bella Friedman, Chana Friedman, Ilan Friedman, Miriam Friedman, Yehiel Friedman, Zvi
                 Friedman, Yael Hillman, Ginette Lando Thaler, Tzippora Shatsky Schwarz, David Raphael Shatsky, Jo Anne Shatsky, Miriam Shatsky, Shabtai Scott Shatsky, Yoseph Shatsky, Isaac
                 Thaler, Leor Thaler, Michael Thaler, Zvi Thaler, Aron S. Trattner, Efrat Trattner, Hillel Trattner, Ronit Trattner, Shelley Trattner, Sara Shatsky Tzimmerman..(Haker, Oliver) (Entered:
                 09/13/2021)
09/30/2021   128 LETTER addressed to Judge Mary Kay Vyskocil from Stephen M. Sinaiko dated 9/30/21 re: Request On Consent for Leave to File Papers and Deliver Copies to Chambers By Hand.
                 Document filed by Steven Braun, Hadassa Diner, Bella Friedman, Chana Friedman, Ilan Friedman, Miriam Friedman, Yehiel Friedman, Zvi Friedman, Yael Hillman, Ginette Lando
                 Thaler, Tzippora Shatsky Schwarz, David Raphael Shatsky, Jo Ann Shatsky, Jo Anne Shatsky, Miriam Shatsky, Shabtai Scott Shatsky, Shabtai Shatsky, Yoseph Shatsky, Ginette Lando
                 Thaler, Isaac Thaler, Leor Thaler, Michael Thaler(Individually), Michael Thaler, Zvi Thaler, Aron S. Trattner, Efrat Trattner, Hillel Trattner, Ronit Trattner, Shelley Trattner, Sara Shatsky
                 Tzimmerman..(Sinaiko, Stephen) (Entered: 09/30/2021)
10/04/2021   129 FILING ERROR - DEFICIENT DOCKET ENTRY (SEE DOCUMENT #130) - DECLARATION of Oliver Haker in Support re: 115 MOTION to Dismiss for Lack of Jurisdiction ..
                 Document filed by Steven Braun, Hadassa Diner, Bella Friedman, Chana Friedman, Ilan Friedman, Miriam Friedman, Yehiel Friedman, Zvi Friedman, Yael Hillman, Ginette Lando
                 Thaler, Tzippora Shatsky Schwarz, David Raphael Shatsky, Jo Ann Shatsky, Jo Anne Shatsky, Miriam Shatsky, Shabtai Scott Shatsky, Shabtai Shatsky, Yoseph Shatsky, Ginette Lando
                 Thaler, Isaac Thaler, Leor Thaler, Michael Thaler(Individually), Michael Thaler, Zvi Thaler, Aron S. Trattner, Efrat Trattner, Hillel Trattner, Ronit Trattner, Shelley Trattner, Sara Shatsky
                 Tzimmerman. (Attachments: # 1 Exhibit 1 to 3 to the Haker Declaration (Redacted), # 2 Exhibit 4 to 9 to the Haker Declaration, # 3 Exhibit 10 to the Haker Declaration, # 4 Exhibit 11 to
                 13 to the Haker Declaration, # 5 Exhibit 14 to 17 to the Haker Declaration, # 6 Exhibit 18 to 19 to the Haker Declaration (Redacted), # 7 Exhibit 20 to the Haker Declaration, # 8 Exhibit
                 21 to 22 to the Haker Declaration (Redacted), # 9 Exhibit 23 to the Haker Declaration, # 10 Exhibit 24 to 27 to the Haker Declaration (Redacted), # 11 Exhibit 28 to 31 to the Haker
                 Declaration, # 12 Exhibit 32 to 36 to the Haker Declaration, # 13 Exhibit 37 to 38 to the Haker Declaration (Redacted), # 14 Exhibit 39 to the Haker Declaration, # 15 Exhibit 40 to 43 to
                 the Haker Declaration (Redacted), # 16 Exhibit 44 to the Haker Declaration, # 17 Exhibit 45 to 48 to the Haker Declaration (Redacted), # 18 Exhibit 49 to the Haker Declaration, # 19
                 Exhibit 50 to 51 to the Haker Declaration (Redacted), # 20 Exhibit 52 to the Haker Declaration, # 21 Exhibit 53 to 56 to the Haker Declaration (Redacted), # 22 Exhibit 57 to the Haker
                 Declaration, # 23 Exhibit 58 to 67 to the Haker Declaration (Redacted), # 24 Exhibit 68 to the Haker Declaration, # 25 Exhibit 69 to 82 to the Haker Declaration (Redacted), # 26 Exhibit
                 83 to the Haker Declaration, # 27 Exhibit 84 to 87 to the Haker Declaration (Redacted), # 28 Exhibit 88 to the Haker Declaration, # 29 Exhibit 89 to 92 to the Haker Declaration
                 (Redacted), # 30 Exhibit 93 to the Haker Declaration, # 31 Exhibit 94 to 101 to the Haker Declaration (Redacted), # 32 Exhibit 102 to 103 to the Haker Declaration, # 33 Exhibit 104 to
                 107 to the Haker Declaration (Redacted), # 34 Exhibit 108 to the Haker Declaration, # 35 Exhibit 109 to 110 to the Haker Declaration (Redacted), # 36 Exhibit 111 to the Haker
                 Declaration, # 37 Exhibit 112 to 121 to the Haker Declaration (Redacted), # 38 Exhibit 122 to 123 to the Haker Declaration, # 39 Exhibit 124 to 146 to the Haker Declaration (Redacted),
                 # 40 Exhibit 147 to 149 to the Haker Declaration, # 41 Exhibit 150 to 151 to the Haker Declaration (Redacted), # 42 Exhibit 152 to the Haker Declaration, # 43 Exhibit 153 to 154 to the
                 Haker Declaration (Redacted), # 44 Exhibit 155 to 157 to the Haker Declaration, # 45 Exhibit 158 to 171 to the Haker Declaration (Redacted), # 46 Exhibit 172 to the Haker Declaration,
                 # 47 Exhibit 173 to 248 to the Haker Declaration (Redacted), # 48 Exhibit 249 to 263 to the Haker Declaration, # 49 Exhibit 264 to the Haker Declaration (Redacted), # 50 Exhibit 265 to
                 the Haker Declaration (Redacted), # 51 Exhibit 266 to 280 to the Haker Declaration, # 52 Exhibit 281 to 284 to the Haker Declaration).(Haker, Oliver) Modified on 10/5/2021 (ldi).
                 (Entered: 10/04/2021)
10/04/2021   130 DECLARATION of Oliver Haker in Opposition re: 115 MOTION to Dismiss for Lack of Jurisdiction .. Document filed by Steven Braun, Hadassa Diner, Bella Friedman, Chana
                 Friedman, Ilan Friedman, Miriam Friedman, Yehiel Friedman, Zvi Friedman, Yael Hillman, Ginette Lando Thaler, Tzippora Shatsky Schwarz, David Raphael Shatsky, Jo Ann Shatsky, Jo
                 Anne Shatsky, Miriam Shatsky, Shabtai Scott Shatsky, Shabtai Shatsky, Yoseph Shatsky, Ginette Lando Thaler, Isaac Thaler, Leor Thaler, Michael Thaler(Individually), Michael Thaler,
                 Zvi Thaler, Aron S. Trattner, Efrat Trattner, Hillel Trattner, Ronit Trattner, Shelley Trattner, Sara Shatsky Tzimmerman. (Attachments: # 1 Exhibit 1 to 3 to the Haker Declaration
                 (Redacted), # 2 Exhibit 4 to 9 to the Haker Declaration, # 3 Exhibit 10 to the Haker Declaration, # 4 Exhibit 11 to 13 to the Haker Declaration, # 5 Exhibit 14 to 17 to the Haker
                 Declaration, # 6 Exhibit 18 to 19 to the Haker Declaration (Redacted), # 7 Exhibit 20 to the Haker Declaration, # 8 Exhibit 21 to 22 to the Haker Declaration (Redacted), # 9 Exhibit 23 to
                 the Haker Declaration, # 10 Exhibit 24 to 27 to the Haker Declaration (Redacted), # 11 Exhibit 28 to 31 to the Haker Declaration, # 12 Exhibit 32 to 36 to the Haker Declaration, # 13
                 Exhibit 37 to 38 to the Haker Declaration (Redacted), # 14 Exhibit 39 to the Haker Declaration, # 15 Exhibit 40 to 43 to the Haker Declaration (Redacted), # 16 Exhibit 44 to the Haker
                 Declaration, # 17 Exhibit 45 to 48 to the Haker Declaration (Redacted), # 18 Exhibit 49 to the Haker Declaration, # 19 Exhibit 50 to 51 to the Haker Declaration (Redacted), # 20 Exhibit
                 52 to the Haker Declaration, # 21 Exhibit 53 to 56 to the Haker Declaration (Redacted), # 22 Exhibit 57 to the Haker Declaration, # 23 Exhibit 58 to 67 to the Haker Declaration
                 (Redacted), # 24 Exhibit 68 to the Haker Declaration, # 25 Exhibit 69 to 82 to the Haker Declaration (Redacted), # 26 Exhibit 83 to the Haker Declaration, # 27 Exhibit 84 to 87 to the
                 Haker Declaration (Redacted), # 28 Exhibit 88 to the Haker Declaration, # 29 Exhibit 89 to 92 to the Haker Declaration (Redacted), # 30 Exhibit 93 to the Haker Declaration, # 31 Exhibit
                 94 to 101 to the Haker Declaration (Redacted), # 32 Exhibit 102 to 103 to the Haker Declaration, # 33 Exhibit 104 to 107 to the Haker Declaration (Redacted), # 34 Exhibit 108 to the
                 Haker Declaration, # 35 Exhibit 109 to 110 to the Haker Declaration (Redacted), # 36 Exhibit 111 108 to the Haker Declaration, # 37 Exhibit 112 to 121 to the Haker Declaration
                 (Redacted), # 38 Exhibit 122 to 123 to the Haker Declaration, # 39 Exhibit 124 to 146 to the Haker Declaration (Redacted), # 40 Exhibit 147 to 149 to the Haker Declaration, # 41 Exhibit
                 150 to 151 to the Haker Declaration (Redacted), # 42 Exhibit 152 to the Haker Declaration, # 43 Exhibit 153 to 154 to the Haker Declaration (Redacted), # 44 Exhibit 155 to 157 to the
                 Haker Declaration, # 45 Exhibit 158 to 171 to the Haker Declaration (Redacted), # 46 Exhibit 172 to the Haker Declaration, # 47 Exhibit 173 to 248 to the Haker Declaration (Redacted),
                 # 48 Exhibit 249 to 263 to the Haker Declaration, # 49 Exhibit 264 to the Haker Declaration (Redacted), # 50 Exhibit 265 to the Haker Declaration (Redacted), # 51 Exhibit 266 to 280 to
                 the Haker Declaration, # 52 Exhibit 281 to 284 to the Haker Declaration).(Haker, Oliver) (Entered: 10/04/2021)
10/04/2021   131 DECLARATION of Arieh Dan Spitzen in Opposition re: 115 MOTION to Dismiss for Lack of Jurisdiction .. Document filed by Steven Braun, Hadassa Diner, Bella Friedman, Chana
                 Friedman, Ilan Friedman, Miriam Friedman, Yehiel Friedman, Zvi Friedman, Yael Hillman, Ginette Lando Thaler, Tzippora Shatsky Schwarz, David Raphael Shatsky, Jo Ann Shatsky, Jo
                 Anne Shatsky, Miriam Shatsky, Shabtai Scott Shatsky, Shabtai Shatsky, Yoseph Shatsky, Ginette Lando Thaler, Isaac Thaler, Leor Thaler, Michael Thaler(Individually), Michael Thaler,
                 Zvi Thaler, Aron S. Trattner, Efrat Trattner, Hillel Trattner, Ronit Trattner, Shelley Trattner. (Attachments: # 1 Exhibit 1 to the Spitzen Declaration, # 2 Exhibit 2 to the Spitzen
                 Declaration, # 3 Exhibit 3 to the Spitzen Declaration (Redacted), # 4 Exhibit 4 to the Spitzen Declaration, # 5 Exhibit 5 to the Spitzen Declaration, # 6 Exhibit 6 to the Spitzen Declaration,
                 # 7 Exhibit 7 to the Spitzen Declaration, # 8 Exhibit 8 to the Spitzen Declaration, # 9 Exhibit 9 to the Spitzen Declaration, # 10 Exhibit 10 to the Spitzen Declaration, # 11 Exhibit 11 to
                 the Spitzen Declaration, # 12 Exhibit 12 to the Spitzen Declaration, # 13 Exhibit 13 to the Spitzen Declaration, # 14 Exhibit 14 to the Spitzen Declaration (Redacted), # 15 Exhibit 15 to
                 the Spitzen Declaration (Redacted), # 16 Exhibit 16 to the Spitzen Declaration (Redacted), # 17 Exhibit 17 to the Spitzen Declaration (Redacted), # 18 Exhibit 18 to the Spitzen
                 Declaration).(Sinaiko, Stephen) (Entered: 10/04/2021)
10/04/2021   132 DECLARATION of Nick Kaufman in Opposition re: 115 MOTION to Dismiss for Lack of Jurisdiction .. Document filed by Steven Braun, Hadassa Diner, Bella Friedman, Chana
                 Friedman, Ilan Friedman, Miriam Friedman, Yehiel Friedman, Zvi Friedman, Yael Hillman, Ginette Lando Thaler, Tzippora Shatsky Schwarz, David Raphael Shatsky, Jo Ann Shatsky, Jo
                 Anne Shatsky, Miriam Shatsky, Shabtai Scott Shatsky, Shabtai Shatsky, Yoseph Shatsky, Ginette Lando Thaler, Isaac Thaler, Leor Thaler, Michael Thaler(Individually), Michael Thaler,
                 Zvi Thaler, Aron S. Trattner, Efrat Trattner, Shelley Trattner, Sara Shatsky Tzimmerman..(Sinaiko, Stephen) (Entered: 10/04/2021)
10/04/2021   133 MEMORANDUM OF LAW in Opposition re: 118 MOTION for Summary Judgment On The Federal Claims and Motion to Dismiss The Non-Federal Claims. (Redacted). Document
                 filed by Steven Braun, Hadassa Diner, Bella Friedman, Chana Friedman, Ilan Friedman, Miriam Friedman, Yehiel Friedman, Zvi Friedman, Yael Hillman, Ginette Lando Thaler, Tzippora
                                  Case 22-1138, Document 12, 06/06/2022, 3327148, Page13 of 28
                   Shatsky Schwarz, David Raphael Shatsky, Jo Ann Shatsky, Jo Anne Shatsky, Miriam Shatsky, Shabtai Scott Shatsky, Shabtai Shatsky, Yoseph Shatsky, Ginette Lando Thaler, Isaac Thaler,
                   Leor Thaler, Michael Thaler(Individually), Michael Thaler, Zvi Thaler, Aron S. Trattner, Efrat Trattner, Hillel Trattner, Ronit Trattner, Shelley Trattner, Sara Shatsky Tzimmerman..
                   (Lowell, Abbe) (Entered: 10/04/2021)
10/04/2021   134 COUNTER STATEMENT TO 121 Rule 56.1 Statement. Document filed by Steven Braun, Hadassa Diner, Bella Friedman, Chana Friedman, Ilan Friedman, Miriam Friedman, Yehiel
                 Friedman, Zvi Friedman, Yael Hillman, Ginette Lando Thaler, Tzippora Shatsky Schwarz, David Raphael Shatsky, Jo Ann Shatsky, Jo Anne Shatsky, Miriam Shatsky, Shabtai Scott
                 Shatsky, Shabtai Shatsky, Yoseph Shatsky, Ginette Lando Thaler, Isaac Thaler, Leor Thaler, Michael Thaler(Individually), Michael Thaler, Zvi Thaler, Aron S. Trattner, Efrat Trattner,
                 Hillel Trattner, Ronit Trattner, Shelley Trattner, Sara Shatsky Tzimmerman..(Lowell, Abbe) (Entered: 10/04/2021)
10/04/2021   135 MEMORANDUM OF LAW in Opposition re: 115 MOTION to Dismiss for Lack of Jurisdiction . . Document filed by Steven Braun, Hadassa Diner, Bella Friedman, Chana Friedman,
                 Ilan Friedman, Miriam Friedman, Yehiel Friedman, Zvi Friedman, Ginette Lando Thaler, Tzippora Shatsky Schwarz, David Raphael Shatsky, Jo Ann Shatsky, Jo Anne Shatsky, Miriam
                 Shatsky, Shabtai Scott Shatsky, Shabtai Shatsky, Yoseph Shatsky, Ginette Lando Thaler, Isaac Thaler, Leor Thaler, Michael Thaler(Individually), Michael Thaler, Zvi Thaler, Aron S.
                 Trattner, Efrat Trattner, Hillel Trattner, Ronit Trattner, Shelley Trattner, Sara Shatsky Tzimmerman..(Sinaiko, Stephen) (Entered: 10/04/2021)
10/05/2021   136 DECLARATION of Abbe David Lowell in Opposition re: 118 MOTION for Summary Judgment On The Federal Claims and Motion to Dismiss The Non-Federal Claims.. Document
                 filed by Steven Braun, Hadassa Diner, Bella Friedman, Chana Friedman, Ilan Friedman, Miriam Friedman, Yehiel Friedman, Zvi Friedman, Yael Hillman, Ginette Lando Thaler, Tzippora
                 Shatsky Schwarz, David Raphael Shatsky, Jo Ann Shatsky, Jo Anne Shatsky, Miriam Shatsky, Shabtai Scott Shatsky, Shabtai Shatsky, Yoseph Shatsky, Ginette Lando Thaler, Isaac Thaler,
                 Leor Thaler, Michael Thaler(Individually), Michael Thaler, Zvi Thaler, Aron S. Trattner, Efrat Trattner, Hillel Trattner, Ronit Trattner, Shelley Trattner, Sara Shatsky Tzimmerman.
                 (Attachments: # 1 Index of Evidence in Support of Plaintiffs' Opposition to Defendants' Motion for Summary Judgment, # 2 Exhibit 1, # 3 Exhibit 2a, # 4 Exhibit 2b, # 5 Exhibit 2c, # 6
                 Exhibit 3, # 7 Exhibit 4 (Sealed), # 8 Exhibit 5 (Sealed), # 9 Exhibit 6 (Sealed), # 10 Exhibit 7 (Sealed), # 11 Exhibit 8, # 12 Exhibit 9a, # 13 Exhibit 9b, # 14 Exhibit 9c, # 15 Exhibit 9d,
                 # 16 Exhibit 9e, # 17 Exhibit 9f, # 18 Exhibit 10, # 19 Exhibit 11, # 20 Exhibit 12, # 21 Exhibit 13, # 22 Exhibit 14, # 23 Exhibit 15, # 24 Exhibit 16, # 25 Exhibit 17, # 26 Exhibit 18, #
                 27 Exhibit 19, # 28 Exhibit 20, # 29 Exhibit 21, # 30 Exhibit 22a, # 31 Exhibit 22b, # 32 Exhibit 22c, # 33 Exhibit 22d, # 34 Exhibit 23, # 35 Exhibit 24 (Sealed), # 36 Exhibit 25, # 37
                 Exhibit 26, # 38 Exhibit 27, # 39 Exhibit 28, # 40 Exhibit 29, # 41 Exhibit 30, # 42 Exhibit 31, # 43 Exhibit 32, # 44 Exhibit 33a, # 45 Exhibit 33b, # 46 Exhibit 33c, # 47 Exhibit 34, # 48
                 Exhibit 35, # 49 Exhibit 36, # 50 Exhibit 37, # 51 Exhibit 38, # 52 Exhibit 39 (Sealed), # 53 Exhibit 40, # 54 Exhibit 41, # 55 Exhibit 42, # 56 Exhibit 43, # 57 Exhibit 44, # 58 Exhibit 45,
                 # 59 Exhibit 46, # 60 Exhibit 47, # 61 Exhibit 48, # 62 Exhibit 49, # 63 Exhibit 50, # 64 Exhibit 51 (Sealed), # 65 Exhibit 52 (Sealed), # 66 Exhibit 53 (Sealed), # 67 Exhibit 54 (Sealed),
                 # 68 Exhibit 55 (Sealed), # 69 Exhibit 56 (Sealed), # 70 Exhibit 57 (Sealed), # 71 Exhibit 58 (Sealed), # 72 Exhibit 59 (Sealed), # 73 Exhibit 60 (Sealed), # 74 Exhibit 61 (Sealed), # 75
                 Exhibit 62 (Sealed), # 76 Exhibit 63 (Sealed), # 77 Exhibit 64 (Sealed), # 78 Exhibit 65 (Sealed), # 79 Exhibit 66 (Sealed), # 80 Exhibit 67 (Sealed), # 81 Exhibit 68, # 82 Exhibit 69, # 83
                 Exhibit 70, # 84 Exhibit 71 (Sealed), # 85 Exhibit 72, # 86 Exhibit 73, # 87 Exhibit 74, # 88 Exhibit 75, # 89 Exhibit 76, # 90 Exhibit 77, # 91 Exhibit 78, # 92 Exhibit 79, # 93 Exhibit 80,
                 # 94 Exhibit 81, # 95 Exhibit 82 (Sealed), # 96 Exhibit 83 (Sealed), # 97 Exhibit 84 (Sealed), # 98 Exhibit 85 (Sealed), # 99 Exhibit 86 (Sealed), # 100 Exhibit 87 (Sealed), # 101 Exhibit
                 88, # 102 Exhibit 89, # 103 Exhibit 90, # 104 Exhibit 91, # 105 Exhibit 92, # 106 Exhibit 93, # 107 Exhibit 94, # 108 Exhibit 95, # 109 Exhibit 96a, # 110 Exhibit 96b, # 111 Exhibit 96c,
                 # 112 Exhibit 97, # 113 Exhibit 98, # 114 Exhibit 99, # 115 Exhibit 100, # 116 Exhibit 101, # 117 Exhibit 102, # 118 Exhibit 103, # 119 Exhibit 104, # 120 Exhibit 105, # 121 Exhibit 106,
                 # 122 Exhibit 107, # 123 Exhibit 108, # 124 Exhibit 109, # 125 Exhibit 110a, # 126 Exhibit 110b, # 127 Exhibit 111, # 128 Exhibit 112, # 129 Exhibit 113, # 130 Exhibit 114, # 131
                 Exhibit 115, # 132 Exhibit 116, # 133 Exhibit 117, # 134 Exhibit 118, # 135 Exhibit 119).(Lowell, Abbe) (Entered: 10/05/2021)
10/11/2021   137 LETTER MOTION to Seal re: Plaintiffs' Opposition to Defendants' Motion for Summary Judgment (ECF 136), addressed to Judge Mary Kay Vyskocil from Plaintiffs dated October 11,
                 2021. Document filed by Steven Braun, Hadassa Diner, Bella Friedman, Chana Friedman, Ilan Friedman, Miriam Friedman, Yehiel Friedman, Zvi Friedman, Yael Hillman, Ginette Lando
                 Thaler, Tzippora Shatsky Schwarz, David Raphael Shatsky, Jo Ann Shatsky, Jo Anne Shatsky, Miriam Shatsky, Shabtai Scott Shatsky, Shabtai Shatsky, Yoseph Shatsky, Ginette Lando
                 Thaler, Isaac Thaler, Leor Thaler, Michael Thaler(Individually), Michael Thaler, Zvi Thaler, Aron S. Trattner, Efrat Trattner, Hillel Trattner, Ronit Trattner, Shelley Trattner, Sara Shatsky
                 Tzimmerman..(Lowell, Abbe) (Entered: 10/11/2021)
10/11/2021   138 LETTER MOTION to Seal addressed to Judge Mary Kay Vyskocil from Gassan A. Baloul dated October 11, 2021. Document filed by The Palestine Liberation Organization, The
                 Palestinian Authority..(Baloul, Gassan) (Entered: 10/11/2021)
10/25/2021   139 NOTICE OF APPEARANCE by Benjamin Henry Torrance on behalf of United States of America..(Torrance, Benjamin) (Entered: 10/25/2021)
10/25/2021   140 NOTICE of Intervention. Document filed by United States of America..(Torrance, Benjamin) (Entered: 10/25/2021)
10/25/2021   141 MEMORANDUM OF LAW re: 140 Notice (Other) . Document filed by United States of America..(Torrance, Benjamin) (Entered: 10/25/2021)
10/26/2021   142 LETTER MOTION for Conference re: 136 Declaration in Opposition to Motion,,,,,,,,,,,,,, Motion to Strike certain Exhibits therein addressed to Judge Mary Kay Vyskocil from Gassan A.
                 Baloul dated October 26, 2021. Document filed by The Palestine Liberation Organization, The Palestinian Authority. (Attachments: # 1 Exhibit A - Expert Exclusion Order).(Baloul,
                 Gassan) (Entered: 10/26/2021)
10/27/2021   143 REPLY MEMORANDUM OF LAW in Support re: 115 MOTION to Dismiss for Lack of Jurisdiction . . Document filed by The Palestine Liberation Organization, The Palestinian
                 Authority..(Baloul, Gassan) (Entered: 10/27/2021)
10/27/2021   144 DECLARATION of Joseph S. Alonzo in Support re: 115 MOTION to Dismiss for Lack of Jurisdiction .. Document filed by The Palestine Liberation Organization, The Palestinian
                 Authority. (Attachments: # 1 Exhibit 1 - Webpage Printout, # 2 Exhibit 2 - Webpage Printout, # 3 Exhibit 3 - Webpage Printout, # 4 Exhibit 4 - Webpage Printout, # 5 Exhibit 5 - Webpage
                 Printout, # 6 Exhibit 6 - Webpage Printout, # 7 Exhibit 7 - Webpage Printout, # 8 Exhibit 8 - Webpage Printout, # 9 Exhibit 9 - Webpage Printout, # 10 Exhibit 10 - Webpage Printout, # 11
                 Exhibit 11 - Webpage Printout, # 12 Exhibit 12 - Report, # 13 Exhibit 13 - Webpage Printout, # 14 Exhibit 14 - Webpage Printout, # 15 Exhibit 15 - Webpage Printout, # 16 Exhibit 16 -
                 Webpage Printout, # 17 Exhibit 17 - Webpage Printout, # 18 Exhibit 18 - Webpage Printout, # 19 Exhibit 19 - Webpage Printout, # 20 Exhibit 20 - Webpage Printout, # 21 Exhibit 21 -
                 Sealed Exhibit, # 22 Exhibit 22 - Sealed Exhibit, # 23 Exhibit 23 - Sealed Exhibit, # 24 Exhibit 24 - United Nations Report).(Baloul, Gassan) (Entered: 10/27/2021)
10/27/2021   145 REPLY MEMORANDUM OF LAW in Support re: 118 MOTION for Summary Judgment On The Federal Claims and Motion to Dismiss The Non-Federal Claims. . Document filed by
                 The Palestine Liberation Organization, The Palestinian Authority..(Baloul, Gassan) (Entered: 10/27/2021)
10/27/2021   146 RESPONSE re: 134 Counter Statement to Rule 56.1,, (Redacted). Document filed by The Palestine Liberation Organization, The Palestinian Authority..(Baloul, Gassan) (Entered:
                 10/27/2021)
10/27/2021   147 LETTER MOTION to Seal re: ECF No. 146 [Defs. Resp. to Pls. Rule 56.1 Counterstatement]; ECF No. 144 [Second Alonzo Decl.]; ECF No. 144-21 [Second Alonzo Decl. Ex. 21]; ECF
                 No. 144-22 [Second Alonzo Decl. Ex. 22]; and ECF No. 144-23 [Second Alonzo Decl. Ex. 23]. addressed to Judge Mary Kay Vyskocil from Gassan A. Baloul dated October 27, 2021.
                 Document filed by The Palestine Liberation Organization, The Palestinian Authority..(Baloul, Gassan) (Entered: 10/27/2021)
10/27/2021   148 ***SELECTED PARTIES***REDACTION to ECF 146 Defs. Resp. to Pls. Rule 56.1 Counterstatement by The Palestine Liberation Organization, The Palestinian AuthorityMotion or
                 Order to File Under Seal: 147 .(Baloul, Gassan) (Entered: 10/27/2021)
10/27/2021   149 ***SELECTED PARTIES***REDACTION to 144 Declaration in Support of Motion,,,, by The Palestine Liberation Organization, The Palestinian Authority (Attachments: # 1 Exhibit 21
                 to Second J. Alonzo Decl., # 2 Exhibit 22 to Second J. Alonzo Decl., # 3 Exhibit 23 to Second J. Alonzo Decl.)Motion or Order to File Under Seal: 147 .(Baloul, Gassan) (Entered:
                 10/27/2021)
10/29/2021   150 LETTER RESPONSE in Opposition to Motion addressed to Judge Mary Kay Vyskocil from Abbe David Lowell dated October 29, 2021 re: 142 LETTER MOTION for Conference re:
                 136 Declaration in Opposition to Motion,,,,,,,,,,,,,, Motion to Strike certain Exhibits therein addressed to Judge Mary Kay Vyskocil from Gassan A. Baloul dated October 26, 2021. .
                 Document filed by Steven Braun, Hadassa Diner, Bella Friedman, Chana Friedman, Ilan Friedman, Miriam Friedman, Yehiel Friedman, Zvi Friedman, Yael Hillman, Ginette Lando
                 Thaler, Tzippora Shatsky Schwarz, David Raphael Shatsky, Jo Ann Shatsky, Jo Anne Shatsky, Miriam Shatsky, Shabtai Scott Shatsky, Shabtai Shatsky, Yoseph Shatsky, Ginette Lando
                 Thaler, Isaac Thaler, Leor Thaler, Michael Thaler(Individually), Michael Thaler, Zvi Thaler, Aron S. Trattner, Efrat Trattner, Hillel Trattner, Ronit Trattner, Shelley Trattner, Sara Shatsky
                 Tzimmerman..(Lowell, Abbe) (Entered: 10/29/2021)
12/06/2021   151 ORDER: Accordingly, it is hereby ORDERED as follows: As a general matter, it appears that Defendants may have indiscriminately designated entire documents, entire deposition
                 transcripts, and large portions of transcripts as "Confidential" under the Court's Confidentiality Order, rather than attempting to engage in a careful review of the materials to identify those
                 particular portions that are sufficiently sensitive to warrant confidentiality protection under that Order. Therefore, with respect to the materials that are the subject of the two motions
                 identified above, Defendants are directed to engage in such a review, and, no later than December 13, 2021, to make redesignations only to the degree they believe it justified. Then, no
                 later than December 20, 2021: As set forth herein. This Court will defer ruling on the non-party letter motions, pending receipt and review of the submissions required by this Order. The
                 Clerk of Court is directed to mail a copy of this Order to proposed intervenor Mr. Michael Wagenheim, at the address shown below. SO ORDERED. (Signed by Magistrate Judge Debra
                 C. Freeman on 12/06/2021) (ama) Transmission to Docket Assistant Clerk for processing. (Entered: 12/06/2021)
12/06/2021         Mailed a copy of 151 Order, Set Deadlines/Hearings, to Mr. Michael Wagenheim, Senior U.S. Correspondent, I24NEWS, 1 State Street, 25th Floor, New York, New York 10004. (dsh)
                   (Entered: 12/06/2021)
12/20/2021   152 LETTER addressed to Magistrate Judge Debra C. Freeman from Stephen M. Sinaiko dated 12/20/21 re: Materials Filed Pursuant to 12/6/21 Order. Document filed by Steven Braun,
                 Hadassa Diner, Bella Friedman, Chana Friedman, Ilan Friedman, Miriam Friedman, Yehiel Friedman, Zvi Friedman, Yael Hillman, Ginette Lando Thaler, Tzippora Shatsky Schwarz,
                 David Raphael Shatsky, Jo Ann Shatsky, Jo Anne Shatsky, Miriam Shatsky, Shabtai Scott Shatsky, Shabtai Shatsky, Yoseph Shatsky, Ginette Lando Thaler, Isaac Thaler, Leor Thaler,
                 Michael Thaler(Individually), Michael Thaler, Zvi Thaler, Aron S. Trattner, Efrat Trattner, Hillel Trattner, Ronit Trattner, Shelley Trattner, Sara Shatsky Tzimmerman. (Attachments: # 1
                 Exhibit A to Letter addressed to Judge Debra Freeman from Stephen M. Sinaiko dated 12/20/21 re: Materials Filed Pursuant to 12/6/21 Order, # 2 Exhibit B to Letter addressed to Judge
                 Debra Freeman from Stephen M. Sinaiko dated 12/20/21 re: Materials Filed Pursuant to 12/6/21 Order, # 3 Exhibit C to Letter addressed to Judge Debra Freeman from Stephen M.
                 Sinaiko dated 12/20/21 re: Materials Filed Pursuant to 12/6/21 Order, # 4 Exhibit D to Letter addressed to Judge Debra Freeman from Stephen M. Sinaiko dated 12/20/21 re: Materials
                 Filed Pursuant to 12/6/21 Order).(Sinaiko, Stephen) (Entered: 12/20/2021)
12/20/2021   153 ***SELECTED PARTIES*** LETTER addressed to Magistrate Judge Debra C. Freeman from Stephen M. Sinaiko dated 12/20/21 re: Materials Filed Pursuant to 12/6/21 Order.
                                  Case 22-1138, Document 12, 06/06/2022, 3327148, Page14 of 28
                   Document filed by Chana Friedman, David Raphael Shatsky, Bella Friedman, Efrat Trattner, Jo Anne Shatsky, Shabtai Scott Shatsky, Hadassa Diner, Shelley Trattner, The Palestine
                   Liberation Organization, Zvi Friedman, The Palestinian Authority, Ronit Trattner, Steven Braun, Ginette Lando Thaler, Yehiel Friedman, Leor Thaler, Zvi Thaler, Jo Ann Shatsky, Ilan
                   Friedman, Miriam Friedman, Hillel Trattner, Shabtai Shatsky, Miriam Shatsky, Tzippora Shatsky Schwarz, Michael Thaler(Individually), Isaac Thaler, Aron S. Trattner, Ginette Lando
                   Thaler, Yoseph Shatsky, Michael Thaler, Yael Hillman, Sara Shatsky Tzimmerman. (Attachments: # 1 Exhibit A (unredacted) to Letter addressed to Judge Debra Freeman from Stephen
                   M. Sinaiko dated 12/20/21 re: Materials Filed Pursuant to 12/6/21 Order, # 2 Exhibit B (unredacted) to Letter addressed to Judge Debra Freeman from Stephen M. Sinaiko dated 12/20/21
                   re: Materials Filed Pursuant to 12/6/21 Order, # 3 Exhibit C (unredacted) to Letter addressed to Judge Debra Freeman from Stephen M. Sinaiko dated 12/20/21 re: Materials Filed
                   Pursuant to 12/6/21 Order, # 4 Exhibit D (unredacted) to Letter addressed to Judge Debra Freeman from Stephen M. Sinaiko dated 12/20/21 re: Materials Filed Pursuant to 12/6/21
                   Order)Motion or Order to File Under Seal: 151 .(Sinaiko, Stephen) (Entered: 12/20/2021)
12/20/2021   154 LETTER addressed to Magistrate Judge Debra C. Freeman from Gassan A. Baloul dated December 20, 2021 re: pursuant to paragraph 2(a) of the Courts December 6, 2021 Order.
                 Document filed by The Palestine Liberation Organization, The Palestinian Authority..(Baloul, Gassan) (Entered: 12/20/2021)
12/20/2021   155 LETTER addressed to Magistrate Judge Debra C. Freeman from Gassan A. Baloul dated December 20, 2021 re: pursuant to paragraph 2(b) of the Courts December 6, 2021 Order.
                 Document filed by The Palestine Liberation Organization, The Palestinian Authority..(Baloul, Gassan) (Entered: 12/20/2021)
01/06/2022   156 LETTER addressed to Judge Mary Kay Vyskocil from Gassan A. Baloul dated January 6, 2022 re: Notice of Supplemental Authority. Document filed by The Palestine Liberation
                 Organization, The Palestinian Authority..(Baloul, Gassan) (Entered: 01/06/2022)
01/06/2022   157 LETTER addressed to Judge Mary Kay Vyskocil from Gassan A. Baloul dated January 6, 2022 re: Notice of Supplemental Authority. Document filed by The Palestine Liberation
                 Organization, The Palestinian Authority..(Baloul, Gassan) (Entered: 01/06/2022)
01/10/2022   158 LETTER MOTION to Seal addressed to Magistrate Judge Debra C. Freeman from Kent A. Yalowitz dated January 10, 2022. Document filed by Arnold & Porter Kaye Scholer LLP..
                 (Yalowitz, Kent) (Entered: 01/10/2022)
01/10/2022   159 ***SELECTED PARTIES*** LETTER addressed to Magistrate Judge Debra C. Freeman from Kent A. Yalowitz dated January 10, 2022 re: SEALED Supplemental Letter. Document
                 filed by Arnold & Porter Kaye Scholer LLP.Motion or Order to File Under Seal: 158 .(Yalowitz, Kent) (Entered: 01/10/2022)
01/10/2022   160 LETTER addressed to Magistrate Judge Debra C. Freeman from Kent A. Yalowitz dated January 10, 2022 re: REDACTED Supplemental Letter 158 . Document filed by Arnold & Porter
                 Kaye Scholer LLP..(Yalowitz, Kent) (Entered: 01/10/2022)
01/13/2022   161 LETTER addressed to Magistrate Judge Debra C. Freeman from Gassan A. Baloul dated January 13, 2022 re: Response to Arnold & Porter Letter Jan. 10, 2022. Document filed by The
                 Palestine Liberation Organization, The Palestinian Authority. (Attachments: # 1 Exhibit A - Aug. 20, 2021 Letter).(Baloul, Gassan) (Entered: 01/13/2022)
02/23/2022   162 LETTER addressed to Judge Mary Kay Vyskocil from Stephen M. Sinaiko dated 2/23/22 re: Response to Defendants' January 6, 2022 letters. Document filed by Steven Braun, Hadassa
                 Diner, Bella Friedman, Chana Friedman, Ilan Friedman, Miriam Friedman, Yehiel Friedman, Zvi Friedman, Yael Hillman, Ginette Lando Thaler, Tzippora Shatsky Schwarz, David
                 Raphael Shatsky, Jo Ann Shatsky, Jo Anne Shatsky, Miriam Shatsky, Shabtai Scott Shatsky, Shabtai Shatsky, Yoseph Shatsky, Ginette Lando Thaler, Isaac Thaler, Leor Thaler, Michael
                 Thaler, Zvi Thaler, Aron S. Trattner, Efrat Trattner, Hillel Trattner, Ronit Trattner, Shelley Trattner, Sara Shatsky Tzimmerman. (Attachments: # 1 Exhibit - Attachment to Letter).(Sinaiko,
                 Stephen) (Entered: 02/23/2022)
02/25/2022   163 LETTER addressed to Judge Mary Kay Vyskocil from Gassan A. Baloul dated February 25, 2022 re: Response to Plaintiffs Feb. 23, 2022 Letter. Document filed by The Palestine
                 Liberation Organization, The Palestinian Authority..(Baloul, Gassan) (Entered: 02/25/2022)
03/11/2022   164 LETTER addressed to Judge Mary Kay Vyskocil from Gassan A. Baloul dated March 11, 2022 re: Notice of Supplemental Authority. Document filed by The Palestine Liberation
                 Organization, The Palestinian Authority..(Baloul, Gassan) (Entered: 03/11/2022)
03/18/2022   165 OPINION AND ORDER GRANTING MOTION TO DISMISS re: 118 MOTION for Summary Judgment On The Federal Claims and Motion to Dismiss The Non-Federal Claims. filed
                 by The Palestinian Authority, The Palestine Liberation Organization, 138 LETTER MOTION to Seal addressed to Judge Mary Kay Vyskocil from Gassan A. Baloul dated October 11,
                 2021. filed by The Palestinian Authority, The Palestine Liberation Organization, 142 LETTER MOTION for Conference re: 136 Declaration in Opposition to Motion,,,,,,,,,,,,,, Motion to
                 Strike certain Exhibits therein addressed to Judge Mary Kay Vyskocil from Gassan A. Baloul dated October 26, 2021. filed by The Palestinian Authority, The Palestine Liberation
                 Organization, 147 LETTER MOTION to Seal re: ECF No. 146 [Defs. Resp. to Pls. Rule 56.1 Counterstatement]; ECF No. 144 [Second Alonzo Decl.]; ECF No. 144-21 [Second Alonzo
                 Decl. Ex. 21]; ECF No. 144-22 [Second Alonzo Decl. Ex. 22]; and ECF No. 144-23 [Second Alonzo filed by The Palestinian Authority, The Palestine Liberation Organization, 115
                 MOTION to Dismiss for Lack of Jurisdiction . filed by The Palestinian Authority, The Palestine Liberation Organization, 137 LETTER MOTION to Seal re: Plaintiffs' Opposition to
                 Defendants' Motion for Summary Judgment (ECF 136), addressed to Judge Mary Kay Vyskocil from Plaintiffs dated October 11, 2021. filed by Miriam Shatsky, Michael Thaler, Tzippora
                 Shatsky Schwarz, Yael Hillman, Isaac Thaler, Shelley Trattner, Shabtai Shatsky, Chana Friedman, Zvi Friedman, Jo Anne Shatsky, Yoseph Shatsky, Steven Braun, Ginette Lando Thaler, Jo
                 Ann Shatsky, Ilan Friedman, Leor Thaler, Hillel Trattner, Aron S. Trattner, Ronit Trattner, Efrat Trattner, Sara Shatsky Tzimmerman, Yehiel Friedman, Miriam Friedman, David Raphael
                 Shatsky, Shabtai Scott Shatsky, Hadassa Diner, Bella Friedman, Zvi Thaler, 158 LETTER MOTION to Seal addressed to Magistrate Judge Debra C. Freeman from Kent A. Yalowitz dated
                 January 10, 2022. filed by Arnold & Porter Kaye Scholer LLP.For the reasons set forth above, Defendants' motion to dismiss for lack of personal jurisdiction [ECF No. 115] is
                 GRANTED. Defendants' motion for summary judgment [ECF No. 118] is DENIED as moot. All outstanding motions to seal filings and strike exhibits are DENIED [ECF Nos. 137, 138,
                 142, 147, 158]. SO ORDERED. (Signed by Judge Mary Kay Vyskocil on 3/18/2022) (tg) Transmission to Orders and Judgments Clerk for processing. (Entered: 03/18/2022)
03/18/2022   166 In an Opinion and Order dated March 18, 2022 [ECF No. 165] the Court denied all open motions to seal. Accordingly, the Clerk of Court is respectfully directed to terminate the the letter
                 motions pending at docket entries 67, 98, and 102. In addition, because the Court granted Defendants' motion to dismiss, the Clerk of Court is respectfully directed to close this case.
                 (HEREBY ORDERED by Judge Mary Kay Vyskocil)(Text Only Order) (Entered: 03/18/2022)
03/21/2022   167 CLERK'S JUDGMENT re: 165 Memorandum & Opinion in favor of The Palestine Liberation Organization, The Palestinian Authority against Aron S. Trattner, Bella Friedman, Chana
                 Friedman, David Raphael Shatsky, Efrat Trattner, Ginette Lando Thaler, Ginette Lando Thaler, Hadassa Diner, Hillel Trattner, Ilan Friedman, Isaac Thaler, Jo Ann Shatsky, Jo Anne
                 Shatsky, Leor Thaler, Michael Thaler, Miriam Friedman, Miriam Shatsky, Ronit Trattner, Sara Shatsky Tzimmerman, Shabtai Shatsky, Shabtai Scott Shatsky, Shelley Trattner, Steven
                 Braun, Tzippora Shatsky Schwarz, Yael Hillman, Yehiel Friedman, Yoseph Shatsky, Zvi Friedman, Zvi Thaler. It is hereby ORDERED, ADJUDGED AND DECREED: That for the
                 reasons stated in the Court's Opinion and Order dated March 18, 2022, Defendants' motion to dismiss for lack of personal jurisdiction is GRANTED. Defendants' motion for summary
                 judgment is DENIED as moot. All outstanding motions to seal filings and strike exhibits are DENIED [ECF Nos. 137, 138, 142, 147, 158]. (Signed by Clerk of Court Ruby Krajick on
                 3/21/2022) (Attachments: # 1 Right to Appeal) (km) (Entered: 03/21/2022)
03/21/2022         Terminate Transcript Deadlines (km) (Entered: 03/21/2022)
03/23/2022   168 NOTICE of Public Filing of ECF 101 re: 101 Letter,. Document filed by Arnold & Porter Kaye Scholer LLP. (Attachments: # 1 Letter to Judge Freeman re Claim of Functional Immunity,
                 # 2 Exhibit 1, # 3 Exhibit 2, # 4 Exhibit 3, # 5 Exhibit 4, # 6 Exhibit 5, # 7 Exhibit 6, # 8 Exhibit 7, # 9 Exhibit 8, # 10 Exhibit 9).(Yalowitz, Kent) (Entered: 03/23/2022)
04/06/2022   169 MEMORANDUM OF LAW in Opposition re: 118 MOTION for Summary Judgment On The Federal Claims and Motion to Dismiss The Non-Federal Claims. (Unredacted Version for
                 Replacement of Redacted Version at ECF No. 133). Document filed by Steven Braun, Hadassa Diner, Bella Friedman, Chana Friedman, Ilan Friedman, Miriam Friedman, Yehiel
                 Friedman, Zvi Friedman, Yael Hillman, Ginette Lando Thaler, Tzippora Shatsky Schwarz, David Raphael Shatsky, Jo Ann Shatsky, Jo Anne Shatsky, Miriam Shatsky, Shabtai Scott
                 Shatsky, Shabtai Shatsky, Yoseph Shatsky, Ginette Lando Thaler, Isaac Thaler, Leor Thaler, Michael Thaler(Individually), Michael Thaler, Zvi Thaler, Aron S. Trattner, Efrat Trattner,
                 Hillel Trattner, Ronit Trattner, Shelley Trattner, Sara Shatsky Tzimmerman..(Lowell, Abbe) (Entered: 04/06/2022)
04/06/2022   170 COUNTER STATEMENT TO 121 Rule 56.1 Statement. Document filed by Steven Braun, Hadassa Diner, Bella Friedman, Chana Friedman, Ilan Friedman, Miriam Friedman, Yehiel
                 Friedman, Zvi Friedman, Yael Hillman, Ginette Lando Thaler, Tzippora Shatsky Schwarz, David Raphael Shatsky, Jo Ann Shatsky, Jo Anne Shatsky, Miriam Shatsky, Shabtai Scott
                 Shatsky, Shabtai Shatsky, Yoseph Shatsky, Ginette Lando Thaler, Isaac Thaler, Leor Thaler, Michael Thaler(Individually), Michael Thaler, Zvi Thaler, Aron S. Trattner, Efrat Trattner,
                 Hillel Trattner, Ronit Trattner, Shelley Trattner, Sara Shatsky Tzimmerman..(Lowell, Abbe) (Entered: 04/06/2022)
04/06/2022   171 NOTICE of Filing of Unredacted Versions of ECF Nos. 133, 134 and Certain Exhibits to ECF No. 136 Pursuant to Opinion and Order Dated March 18, 2022 and Protective Order re: 133
                 Memorandum of Law in Opposition to Motion,, 136 Declaration in Opposition to Motion,,,,,,,,,,,,,, 134 Counter Statement to Rule 56.1,,. Document filed by Steven Braun, Hadassa Diner,
                 Bella Friedman, Chana Friedman, Ilan Friedman, Miriam Friedman, Yehiel Friedman, Zvi Friedman, Yael Hillman, Ginette Lando Thaler, Tzippora Shatsky Schwarz, David Raphael
                 Shatsky, Jo Ann Shatsky, Jo Anne Shatsky, Miriam Shatsky, Shabtai Scott Shatsky, Shabtai Shatsky, Yoseph Shatsky, Ginette Lando Thaler, Isaac Thaler, Leor Thaler, Michael
                 Thaler(Individually), Michael Thaler, Zvi Thaler, Aron S. Trattner, Efrat Trattner, Hillel Trattner, Ronit Trattner, Shelley Trattner, Sara Shatsky Tzimmerman. (Attachments: # 1 Exhibit 4,
                 # 2 Exhibit 5, # 3 Exhibit 6, # 4 Exhibit 7, # 5 Exhibit 11, # 6 Exhibit 12, # 7 Exhibit 13, # 8 Exhibit 14, # 9 Exhibit 24, # 10 Exhibit 39, # 11 Exhibit 51, # 12 Exhibit 52, # 13 Exhibit 53,
                 # 14 Exhibit 54, # 15 Exhibit 55, # 16 Exhibit 56, # 17 Exhibit 57, # 18 Exhibit 58, # 19 Exhibit 59, # 20 Exhibit 60, # 21 Exhibit 61, # 22 Exhibit 62, # 23 Exhibit 63, # 24 Exhibit 64, #
                 25 Exhibit 65, # 26 Exhibit 66, # 27 Exhibit 67, # 28 Exhibit 71, # 29 Exhibit 82, # 30 Exhibit 83, # 31 Exhibit 84, # 32 Exhibit 85, # 33 Exhibit 86, # 34 Exhibit 87).(Lowell, Abbe)
                 (Entered: 04/06/2022)
04/13/2022   172 NOTICE OF APPEAL from 167 Clerk's Judgment,,,, 165 Memorandum & Opinion,,,,,,,,,,. Document filed by Steven Braun, Hadassa Diner, Bella Friedman, Chana Friedman, Ilan
                 Friedman, Miriam Friedman, Yehiel Friedman, Zvi Friedman, Yael Hillman, Ginette Lando Thaler, Tzippora Shatsky Schwarz, David Raphael Shatsky, Jo Ann Shatsky, Jo Anne Shatsky,
                 Miriam Shatsky, Shabtai Scott Shatsky, Shabtai Shatsky, Yoseph Shatsky, Ginette Lando Thaler, Isaac Thaler, Leor Thaler, Michael Thaler(Individually), Michael Thaler, Zvi Thaler, Aron
                 S. Trattner, Efrat Trattner, Hillel Trattner, Ronit Trattner, Shelley Trattner, Sara Shatsky Tzimmerman. Filing fee $ 505.00, receipt number ANYSDC-26004446. Form C and Form D are
                 due within 14 days to the Court of Appeals, Second Circuit. (Attachments: # 1 Exhibit A - Order appealed from, # 2 Exhibit B - Judgment appealed from).(Tolchin, Robert) Modified on
                 4/13/2022 (nd). (Entered: 04/13/2022)
04/13/2022         Transmission of Notice of Appeal and Certified Copy of Docket Sheet to US Court of Appeals re: 172 Notice of Appeal..(nd) (Entered: 04/13/2022)
04/13/2022         Appeal Record Sent to USCA (Electronic File). Certified Indexed record on Appeal Electronic Files for 172 Notice of Appeal,,, filed by Miriam Shatsky, Michael Thaler, Tzippora
                   Shatsky Schwarz, Yael Hillman, Isaac Thaler, Shelley Trattner, Shabtai Shatsky, Chana Friedman, Zvi Friedman, Jo Anne Shatsky, Yoseph Shatsky, Steven Braun, Ginette Lando Thaler,
                                 Case 22-1138, Document 12, 06/06/2022, 3327148, Page15 of 28
                   Jo Ann Shatsky, Ilan Friedman, Leor Thaler, Hillel Trattner, Aron S. Trattner, Ronit Trattner, Efrat Trattner, Sara Shatsky Tzimmerman, Yehiel Friedman, Miriam Friedman, David
                   Raphael Shatsky, Shabtai Scott Shatsky, Hadassa Diner, Bella Friedman, Zvi Thaler were transmitted to the U.S. Court of Appeals..(nd) (Entered: 04/13/2022)
05/11/2022   173 LETTER addressed to Judge Mary Kay Vyskocil from Gassan A. Baloul dated May 11, 2022 re: response to request to unseal. Document filed by The Palestine Liberation Organization,
                 The Palestinian Authority. (Attachments: # 1 Exhibit Tab A).(Baloul, Gassan) (Entered: 05/11/2022)
05/12/2022   174 LETTER addressed to Judge Mary Kay Vyskocil from Asher Perlin dated 05/12/2022 re: March 18, 2022 Order Denying Motions to Seal. Document filed by Shelley Levine..(Perlin,
                 Asher) (Entered: 05/12/2022)
05/12/2022   175 LETTER addressed to Judge Mary Kay Vyskocil from Gassan A. Baloul dated May 12, 2022 re: Response to Levine plaintiffs letter-motion 174 . Document filed by The Palestine
                 Liberation Organization, The Palestinian Authority..(Baloul, Gassan) (Entered: 05/12/2022)
05/16/2022   176 NOTICE of Filing of Unredacted Versions of ECF Nos. 130, 131, 132, 135, Certain Exhibits to ECF No. 130 that were previously filed in redacted form, and Certain Exhibits of ECF No.
                 131 that were previously filed in redacted form and Request to the Clerk of the Court to Substitute Unredacted Versions of those Filings re: 130 Declaration in Opposition to
                 Motion,,,,,,,,,,,,, 131 Declaration in Opposition to Motion,,,,,, 135 Memorandum of Law in Opposition to Motion,, 132 Declaration in Opposition to Motion,,. Document filed by Steven
                 Braun, Hadassa Diner, Bella Friedman, Chana Friedman, Ilan Friedman, Miriam Friedman, Yehiel Friedman, Zvi Friedman, Yael Hillman, Ginette Lando Thaler, Tzippora Shatsky
                 Schwarz, David Raphael Shatsky, Jo Ann Shatsky, Jo Anne Shatsky, Miriam Shatsky, Shabtai Scott Shatsky, Shabtai Shatsky, Yoseph Shatsky, Ginette Lando Thaler, Isaac Thaler, Leor
                 Thaler, Michael Thaler(Individually), Michael Thaler, Zvi Thaler, Aron S. Trattner, Efrat Trattner, Hillel Trattner, Ronit Trattner, Shelley Trattner, Sara Shatsky Tzimmerman..(Sinaiko,
                 Stephen) (Entered: 05/16/2022)
05/16/2022   177 DECLARATION of Oliver Haker in Opposition re: 115 MOTION to Dismiss for Lack of Jurisdiction .. Document filed by Steven Braun, Hadassa Diner, Bella Friedman, Chana
                 Friedman, Ilan Friedman, Miriam Friedman, Yehiel Friedman, Zvi Friedman, Yael Hillman, Ginette Lando Thaler, Tzippora Shatsky Schwarz, David Raphael Shatsky, Jo Ann Shatsky, Jo
                 Anne Shatsky, Miriam Shatsky, Shabtai Scott Shatsky, Shabtai Shatsky, Yoseph Shatsky, Ginette Lando Thaler, Isaac Thaler, Leor Thaler, Michael Thaler(Individually), Michael Thaler,
                 Zvi Thaler, Aron S. Trattner, Efrat Trattner, Hillel Trattner, Ronit Trattner, Shelley Trattner, Sara Shatsky Tzimmerman. (Attachments: # 1 Exhibit Unredacted Copies of Exhibits 1 to 3 to
                 the Haker Declaration (Previously Filed as ECF No. 130-1), # 2 Exhibit Unredacted Copies of Exhibits 18 to 19 to the Haker Declaration (Previously Filed as ECF No. 130-6), # 3 Exhibit
                 Unredacted Copies of Exhibits 21 to 22 to the Haker Declaration (Previously Filed as ECF No. 130-8), # 4 Exhibit Unredacted Copies of Exhibits 24 to 27 to the Haker Declaration
                 (Previously Filed as ECF No. 130-10), # 5 Exhibit Unredacted Copies of Exhibits 37 to 38 to the Haker Declaration (Previously Filed as ECF No. 130-13), # 6 Exhibit Unredacted Copies
                 of Exhibits 40 to 43 to the Haker Declaration (Previously Filed as ECF No. 130-15), # 7 Exhibit Unredacted Copies of Exhibits 45 to 48 to the Haker Declaration (Previously Filed as ECF
                 No. 130-17), # 8 Exhibit Unredacted Copies of Exhibits 50 to 51 to the Haker Declaration (Previously Filed as ECF No. 130-19), # 9 Exhibit Unredacted Copies of Exhibits 53 to 56 to
                 the Haker Declaration (Previously Filed as ECF No. 130-21), # 10 Exhibit Unredacted Copies of Exhibits 58 to 67 to the Haker Declaration (Previously Filed as ECF No. 130-23), # 11
                 Exhibit Unredacted Copies of Exhibits 69 to 82 to the Haker Declaration (Previously Filed as ECF No. 130-25), # 12 Exhibit Unredacted Copies of Exhibits 84 to 87 to the Haker
                 Declaration (Previously Filed as ECF No. 130-27), # 13 Exhibit Unredacted Copies of Exhibits 89 to 92 to the Haker Declaration (Previously Filed as ECF No. 130-29), # 14 Exhibit
                 Unredacted Copies of Exhibits 94 to 101 to the Haker Declaration (Previously Filed as ECF No. 130-31), # 15 Exhibit Unredacted Copies of Exhibits 104 to 107 to the Haker Declaration
                 (Previously Filed as ECF No. 130-33), # 16 Exhibit Unredacted Copies of Exhibits 109 to 110 to the Haker Declaration (Previously Filed as ECF No. 130-35), # 17 Exhibit Unredacted
                 Copies of Exhibits 112 to 121 to the Haker Declaration (Previously Filed as ECF No. 130-37), # 18 Exhibit Part 1 of Unredacted Copies of Exhibits 124 to 146 to the Haker Declaration
                 (Previously Filed as ECF No. 130-39), # 19 Exhibit Part 2 of Unredacted Copies of Exhibits 124 to 146 to the Haker Declaration (Previously Filed as ECF No. 130-39), # 20 Exhibit Part
                 3 of Unredacted Copies of Exhibits 124 to 146 to the Haker Declaration (Previously Filed as ECF No. 130-39), # 21 Exhibit Part 4 of Unredacted Copies of Exhibits 124 to 146 to the
                 Haker Declaration (Previously Filed as ECF No. 130-39), # 22 Exhibit Unredacted Copies of Exhibits 150 to 151 to the Haker Declaration (Previously Filed as ECF No. 130-41), # 23
                 Exhibit Unredacted Copies of Exhibits 153 to 154 to the Haker Declaration (Previously Filed as ECF No. 130-43), # 24 Exhibit Part 1 of Unredacted Copies of Exhibits 158 to 171 to the
                 Haker Declaration (Previously Filed as ECF No. 130-45), # 25 Exhibit Part 2 of Unredacted Copies of Exhibits 158 to 171 to the Haker Declaration (Previously Filed as ECF No. 130-45),
                 # 26 Exhibit Part 3 of Unredacted Copies of Exhibits 158 to 171 to the Haker Declaration (Previously Filed as ECF No. 130-45), # 27 Exhibit Part 1 of Unredacted Copies of Exhibits 173
                 to 248 to the Haker Declaration (Previously Filed as ECF No. 130-47), # 28 Exhibit Part 2 of Unredacted Copies of Exhibits 173 to 248 to the Haker Declaration (Previously Filed as ECF
                 No. 130-47), # 29 Exhibit Part 3 of Unredacted Copies of Exhibits 173 to 248 to the Haker Declaration (Previously Filed as ECF No. 130-47), # 30 Exhibit Part 4 of Unredacted Copies of
                 Exhibits 173 to 248 to the Haker Declaration (Previously Filed as ECF No. 130-47), # 31 Exhibit Part 5 of Unredacted Copies of Exhibits 173 to 248 to the Haker Declaration (Previously
                 Filed as ECF No. 130-47), # 32 Exhibit Part 6 of Unredacted Copies of Exhibits 173 to 248 to the Haker Declaration (Previously Filed as ECF No. 130-47), # 33 Exhibit Part 7 of
                 Unredacted Copies of Exhibits 173 to 248 to the Haker Declaration (Previously Filed as ECF No. 130-47), # 34 Exhibit Part 8 of Unredacted Copies of Exhibits 173 to 248 to the Haker
                 Declaration (Previously Filed as ECF No. 130-47), # 35 Exhibit Part 9 of Unredacted Copies of Exhibits 173 to 248 to the Haker Declaration (Previously Filed as ECF No. 130-47), # 36
                 Exhibit Unredacted Copy of Exhibit 264 to the Haker Declaration (Previously Filed as ECF No. 130-49), # 37 Exhibit Unredacted Copy of Exhibit 265 to the Haker Declaration
                 (Previously Filed as ECF No. 130-50)).(Haker, Oliver) (Entered: 05/16/2022)
05/16/2022   178 DECLARATION of Arieh Dan Spitzen in Opposition re: 115 MOTION to Dismiss for Lack of Jurisdiction .. Document filed by Steven Braun, Hadassa Diner, Bella Friedman, Chana
                 Friedman, Ilan Friedman, Miriam Friedman, Yehiel Friedman, Zvi Friedman, Yael Hillman, Ginette Lando Thaler, Tzippora Shatsky Schwarz, David Raphael Shatsky, Jo Ann Shatsky, Jo
                 Anne Shatsky, Miriam Shatsky, Shabtai Scott Shatsky, Shabtai Shatsky, Yoseph Shatsky, Ginette Lando Thaler, Isaac Thaler, Leor Thaler, Michael Thaler(Individually), Michael Thaler,
                 Zvi Thaler, Aron S. Trattner, Efrat Trattner, Hillel Trattner, Ronit Trattner, Shelley Trattner, Sara Shatsky Tzimmerman. (Attachments: # 1 Exhibit Unredacted Copy of Exhibit 3 to the
                 Spitzen Declaration (Previously Filed as ECF No. 131-03), # 2 Exhibit Unredacted Copy of Exhibit 14 to the Spitzen Declaration (Previously Filed as ECF No. 131-14), # 3 Exhibit
                 Unredacted Copy of Exhibit 15 to the Spitzen Declaration (Previously Filed as ECF No. 131-15), # 4 Exhibit Unredacted Copy of Exhibit 16 to the Spitzen Declaration (Previously Filed
                 as ECF No. 131-16), # 5 Exhibit Unredacted Copy of Exhibit 17 to the Spitzen Declaration (Previously Filed as ECF No. 131-17)).(Sinaiko, Stephen) (Entered: 05/16/2022)
05/16/2022   179 DECLARATION of Nick Kaufman in Opposition re: 115 MOTION to Dismiss for Lack of Jurisdiction .. Document filed by Steven Braun, Hadassa Diner, Bella Friedman, Chana
                 Friedman, Ilan Friedman, Miriam Friedman, Yehiel Friedman, Zvi Friedman, Yael Hillman, Ginette Lando Thaler, Tzippora Shatsky Schwarz, David Raphael Shatsky, Jo Ann Shatsky, Jo
                 Anne Shatsky, Miriam Shatsky, Shabtai Scott Shatsky, Shabtai Shatsky, Yoseph Shatsky, Ginette Lando Thaler, Isaac Thaler, Leor Thaler, Michael Thaler(Individually), Michael Thaler,
                 Zvi Thaler, Aron S. Trattner, Efrat Trattner, Hillel Trattner, Ronit Trattner, Shelley Trattner, Sara Shatsky Tzimmerman..(Sinaiko, Stephen) (Entered: 05/16/2022)
05/16/2022   180 MEMORANDUM OF LAW in Opposition re: 115 MOTION to Dismiss for Lack of Jurisdiction . (Unredacted Copy of Plaintiffs' Memorandum of Law Previously Filed as ECF No. 135).
                 Document filed by Steven Braun, Hadassa Diner, Bella Friedman, Chana Friedman, Ilan Friedman, Miriam Friedman, Yehiel Friedman, Zvi Friedman, Yael Hillman, Ginette Lando
                 Thaler, Tzippora Shatsky Schwarz, David Raphael Shatsky, Jo Ann Shatsky, Jo Anne Shatsky, Miriam Shatsky, Shabtai Scott Shatsky, Shabtai Shatsky, Yoseph Shatsky, Ginette Lando
                 Thaler, Isaac Thaler, Leor Thaler, Michael Thaler(Individually), Michael Thaler, Zvi Thaler, Aron S. Trattner, Efrat Trattner, Hillel Trattner, Ronit Trattner, Shelley Trattner, Sara Shatsky
                 Tzimmerman..(Sinaiko, Stephen) (Entered: 05/16/2022)
05/20/2022   181 NOTICE OF APPEAL from 167 Clerk's Judgment,,,,. Document filed by United States of America. Form C and Form D are due within 14 days to the Court of Appeals, Second Circuit..
                 (Torrance, Benjamin (Entered: 05/20/2022)
05/20/2022         Transmission of Notice of Appeal and Certified Copy of Docket Sheet to US Court of Appeals re: 181 Notice of Appeal. (tp) (Entered: 05/20/2022)
05/20/2022         Appeal Record Sent to USCA (Electronic File). Certified Indexed record on Appeal Electronic Files for 181 Notice of Appeal filed by United States of America were transmitted to the
                   U.S. Court of Appeals. (tp) (Entered: 05/20/2022)



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UNITED STATES DISTRICT COURT                                                USDC SDNY
SOUTHERN DISTRICT OF NEW YORK                                               DOCUMENT
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                                                                            DOC #:
    SHABTAI SCOTT SHATSKY, individually                                     DATE FILED: 3/18/2022
    and as personal representative of the Estate of
    Keren Shatsky, et al.,

                                        Plaintiffs,                           18-cv-12355 (MKV)

             -v-                                                            OPINION AND ORDER
                                                                                GRANTING
    THE PALESTINE LIBERATION                                                MOTION TO DISMISS
    ORGANIZATION and THE PALESTINIAN
    AUTHORITY (a/k/a “The Palestinian Interim
    Self-Government Authority” and/or “The
    Palestinian National Authority),

                                        Defendants.


MARY KAY VYSKOCIL, District Judge:

           Before the Court are Defendants’ motions to dismiss for lack of personal jurisdiction [ECF

No. 115] and for summary judgment [ECF No. 118]. For the reasons set forth below, the motion

to dismiss for lack of personal jurisdiction is GRANTED, and the motion for summary judgment

is DENIED as moot. In addition, all outstanding motions to seal filings and strike exhibits are

DENIED [ECF Nos. 137, 138, 142, 147, 158].

                                               I.       BACKGROUND 1

       A. The Suicide Bombing

           In 2002, a suicide bomber entered a pizzeria in the Israeli town of Karnei Shomron and

detonated an explosive device [ECF Nos. 50 (“FAC”) ¶ 1; 121 (“Def. 56.1”) ¶ 16; 134 (“Pl. 56.1”)

¶ 16]. The terrorist killed or wounded at least six United States citizens. See FAC ¶¶ 1, 10–22;

Pl. 56.1 ¶¶ 69–82 [ECF No. 146 (“Def. Response to Pl. 56.1”) ¶¶ 69–82]. Among the American


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    All of the facts mentioned in this Opinion are undisputed, unless otherwise noted.
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casualties were two teenage girls, 14-year-old Keren Shatsky and 15-year-old Rachel Thaler. FAC

¶¶ 10, 12; Pl. 56.1 ¶ 69; Def. Response to Pl. 56.1 ¶ 69.

   B. The Parties

       Plaintiffs are the families of the murdered girls, United States citizens who were injured in

the attack, and family members of the injured.          Defendants are the Palestine Liberation

Organization (“PLO”) and the Palestinian Authority (“PA”). The PLO and PA are the government

of the Palestinian people. See Waldman v. Palestine Liberation Org., 835 F.3d 317, 322, 323, 329

(2d Cir. 2016) (“Waldman I”); Def. 56.1 ¶¶ 2, 3; (describing “the PA and PLO as [Palestine’s]

government”); Pl. 56.1 ¶¶ 2, 3; FAC ¶ 38 (“Both Defendants hold themselves out as the ‘State of

Palestine’”). Our government has never recognized the sovereignty of the PLO and PA, although

they have argued in other litigation that our courts should treat them as sovereign. See Def. 56.1

¶ 3; Pl. 56.1 ¶ 3; Waldman I, 835 F.3d at 323; Klinghoffer v. S.N.C. Achille Lauro Ed Altri-Gestione

Motonave Achille Lauro in Amministrazione Straordinaria, 937 F.2d 44, 47 (2d Cir. 1991). The

President and Congress have cited the ties of the PLO and PA to terrorism in deciding not

recognize, and otherwise structuring U.S. relations with, the PLO and PA. See, e.g., 22 U.S.C.

§ 5201(a); Determination and Designation of Benefits Concerning Palestine Information Office,

52 Fed. Reg. 37,035 (Oct. 2, 1987); International Security and Development Cooperation Act of

1985, Pub. L. No. 99-83, § 1302.

   C. Congressional Action To Establish Federal Court Jurisdiction over the PLO and PA,
      and Frustration in the Courts

       Congress enacted the Anti-Terrorism Act of 1992 (“ATA”), 18 U.S.C. §§ 2331 et seq., to

create a “legal response,” in U.S. courts, to “international terrorism,” H.R. Rep. No. 102-1040, at

5 (1992) (“1992 House Report”); see Pub. L. No. 102-572, § 1003(a), 106 Stat. 4506, 4521-24

(1992) (adding 18 U.S.C. §§ 2331, 2333-2338). The statute provides that United States nationals



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harmed by an act of international terrorism “may sue therefor in any appropriate district court of

the United States.” 18 U.S.C. § 2333(a). It permits actions against anyone who “planned” or “who

aids and abets, by knowingly providing substantial assistance” to “the person who committed such

an act of international terrorism.” Id. § 2333(d)(2).

       Plaintiffs bring this action under the ATA against the PLO and PA, seeking redress for the

2002 suicide bombing. Plaintiffs allege that the PLO and PA are responsible for the attack,

including that someone on the government payroll planned it, which allegations Defendants

dispute. See FAC ¶¶ 1 (alleging that a government “officer and employee . . . planned the attack

while on the [government] payroll”), 41 (alleging that the PLO and PA have a longstanding

practice of providing “‘martyr’ payments” to “the families of suicide terrorists” to encourage such

attacks); Def. 56.1 ¶¶ 26, 29, 38; Pl. 56.1 ¶¶ 26, 29, 38, 50, 51, 53; Def. Response to Pl. 56.1 ¶¶

50, 51, 53. There is no dispute that, after the 2002 attack, Defendants deemed the suicide bomber

a martyr and have made payments to his family in accordance with Palestinian law. See Def. 56.1

¶¶ 5, 6, 28, 29, 30; Pl. 56.1 ¶¶ 5, 6, 28, 29, 30, 101, 117, 118, 123, 124; Def. Response to Pl. 56.1

¶¶ 101, 117, 118, 123, 124 [ECF Nos. 116 (“Def. Mem.”) at 3; 119 (“Def. MSJ”) at 20 (Defendants

made payments to the suicide bomber’s family after the bombing)].

       A number of families have, like Plaintiffs, brought lawsuits under the ATA against the

PLO and PA based on different terrorist attacks in Israel that killed and injured Americans. In this

district, in Sokolow v. Palestine Liberation Org., No. 04-CV-397, Judge Daniels conducted a

seven-week jury trial, and the jury returned a verdict in favor of the plaintiffs and awarded them

more than $650 million dollars. However, the Second Circuit vacated the judgment, holding that

the district court had lacked personal jurisdiction over the PLO and PA. Waldman I, 835 F.3d at

322, 324.




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       In response to this ruling, in 2018, Congress enacted, and the President signed, the Anti-

Terrorism Clarification Act (“ATCA”), Pub. L. No. 115-253, § 4, 132 Stat. 3183, 3184 (adding 18

U.S.C. § 2334(e)). The statute provided that, “for purposes of any civil action under [the ATA], a

defendant shall be deemed to have consented to personal jurisdiction in such civil action if,” after

a certain date, the defendant “accepts” certain “form[s] of assistance” that the United States was

providing to the PA, or “maintain[s]” an office pursuant to a “waiver or suspension” of a provision

that otherwise prohibited the PLO from maintaining an office in the United States. Id. (emphasis

added). The Sokolow plaintiffs immediately moved to recall the mandate in Waldman I, but the

Second Circuit denied their motion on the ground that the Sokolow plaintiffs had not established

either of the factual predicates of the ATCA. Waldman v. Palestine Liberation Org., 925 F.3d

570, 574 (2d Cir. 2019) (“Waldman II”).

       The political branches responded again, leaving no room to doubt Congress’s intention to

define the jurisdiction of the federal courts to include ATA suits against the PLO and PA. In 2019,

Congress enacted, and the President signed, the Promoting Security and Justice for Victims of

Terrorism Act (“PSJVTA”). Pub. L. No. 116-94, div. J, tit. IX, § 903, 133 Stat. 3082. Indeed, the

PSJVTA amends the definition of “defendant” specifically to include the PLO and PA. Pub. L.

No. 116-94, div. J, tit. IX, § 903(b)(5), 133 Stat. 3082, 3083.

       The PSJVTA also provides new factual predicates for conduct that are deemed consent to

personal jurisdiction for suits under the ATA. As amended by the PSJVTA, the ATA provides, in

relevant part, that a defendant “shall be deemed to have consented to personal jurisdiction” if, after

April 18, 2020, it “makes any payment, directly or indirectly,” to a family member of an individual

who died while committing an act of terrorism that injured or killed an American “if such payment

is made by reason of the death of such individual.” 18 U.S.C. § 2334(e)(1)(A). The Act also




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provides that a defendant will be “deemed to have consented to personal jurisdiction” if, after

January 4, 2020, it “establishes,” “procures,” or “continues to maintain any office, headquarters,

premises, or other facilities or establishments in the United States,” or “conducts any activity while

physically present in the United States on behalf of” the PLO or PA, except offices or facilities

used “exclusively for the purpose of conducting official business of the United Nations” and

“ancillary” activities. Id. §§ 2334(e)(1)(B) and 2334(e)(3).

   D. Procedural History of this Case

       Meanwhile, alongside these developments in the Second Circuit and Congress, the parties

in this case were litigating in the District of Columbia. In Shatsky v. PLO, No. 02-cv-2280 (RJL)

(D.D.C.) (“Shatsky I”), Judge Leon concluded, in 2017, that the court had personal jurisdiction

over the PLO and PA but that they were entitled to summary judgment because Plaintiffs lacked

admissible evidence linking the PLO and PA to the bombing. Shatsky I, 2017 WL 2666111, at *5,

11 (D.D.C. June 20, 2017). The D.C. Circuit reversed and vacated. Shatsky v. PLO, 955 F.3d

1016 (D.C. Cir. 2020). It held that the PLO and PA were not subject to personal jurisdiction at the

time of Judge Leon’s decision granting summary judgment, but that the newly-enacted PSJVTA

might provide such personal jurisdiction. Id. at 1038.

       While the litigation in D.C. was ongoing, Plaintiffs filed the same case in this Court, which

was originally assigned to Judge Woods. Plaintiffs requested a stay of this case pending the

outcome of the litigation in D.C., stating that this case was a “protective suit,” filed “prior to the

expiry of the statute of limitations,” in case the D.C. courts dismissed for lack of jurisdiction or

venue [ECF No. 12]. Judge Woods sought the parties’ “consent to transferring this case” to D.C.

and directed the parties to explain why “the interests of justice” did not “favor transferring this




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action” [ECF No. 13]. Ultimately, however, he allowed the case to remain, stayed, on the docket,

ECF Nos. 17, 20, 22]. The case was later reassigned to me.

        After the D.C. Circuit reversed and vacated Judge Leon’s decision, Plaintiffs, obviously

hoping for a better result from a different judge, abandoned the D.C. litigation and filed a letter

asking this Court to lift the stay and allow this case to proceed [02-cv-2280 (RJL) (DDC) ECF No.

373; 18-cv-3141 (RJL) (DDC) ECF No. 5; 18-cv-12355 (MKV) (SDNY) ECF No. 27]. On the

record at a conference, the Court asked Plaintiffs how the filing of this so-called “protective action”

was “not abusive of the judicial process” [ECF No. 46 (“Tr.”) at 3]. However, Defendants had

argued to the D.C. Circuit that it should not remand Shatsky I, since a “pending duplicative

action[]” was “a readily available, and better, vehicle for Plaintiffs to advance their PSJVTA

arguments” [ECF No. 42-1]. See Tr. at 16. In the light of the prior decision in this Court to allow

the case to remain open on the docket and the dismissal without prejudice of the D.C. litigation, I

allowed this case to proceed.

       Plaintiffs filed the First Amended Complaint, citing the PSJVTA as the basis for personal

jurisdiction over the PLO and PA [ECF No. 50]. The Court granted Plaintiffs’ request for

jurisdictional discovery over Defendants’ objection [ECF No. 60]. The Court also ruled that no

other discovery would be permitted, since the factual record was fully developed during the D.C.

litigation. After the conclusion of jurisdictional discovery, Defendants moved to dismiss for lack

of personal jurisdiction on the ground that the PSJVTA is unconstitutional [ECF Nos. 115, 116

(“Def. Mem.”), 117]. Defendants simultaneously moved for summary judgment [ECF Nos. 118,

119, 120, 121]. Plaintiffs opposed both motions [ECF Nos. 130, 131, 132, 133, 134, 135 (“Pl.

Opp.”), 136]. The United States filed a brief in defense of the constitutionality of the PSJVTA

[ECF No. 141 (“USA Mem.”)]. Defendants filed reply briefs [ECF Nos. 143, 144, 145, 146].




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Defendants have also filed numerous requests to redact briefing and to seal or strike various

exhibits, some of which requests the magistrate judge has addressed, and some of which remain

outstanding [ECF Nos. 137, 138, 142, 147, 158].

       While these motions were pending, other judges in this district issued decisions in similar

cases against the PLO and PA. In Fuld et al. v. PLO et al., 20-cv-3374 (JMF) (S.D.N.Y), Judge

Furman granted Defendants’ motion to dismiss for lack of personal jurisdiction. In a thorough,

well-reasoned opinion, Judge Furman ruled that the “deemed consent” provisions of the PSJVTA

are not consistent with the constitutional requirements of due process. He reasoned that “Congress

cannot, consistent with the Constitution, simply decree that any conduct, without regard for its

connections to the United States generally or to litigation in the United States specifically, signals

a party’s intent to submit to the jurisdiction of a United States court” [20-cv-3374, ECF No. 61

(“Fuld”) at 2]. In Sokolow, back in the Southern District on remand, Judge Daniels agreed that,

although the factual predicates for “deemed consent” were met, the PSJVTA is unconstitutional

[04-cv-397, ECF No. 1054].

                                    II.    LEGAL STANDARDS

       On a motion to dismiss for lack of personal jurisdiction, the plaintiff bears the burden of

establishing that the court has jurisdiction over the defendant. See In re Terrorist Attacks, 714

F.3d 659, 673 (2d Cir. 2013); Vasquez v. H. K. & Shanghai Banking Corp., 477 F. Supp. 3d 241,

250 (S.D.N.Y. 2020). Where, as here, jurisdictional discovery has been conducted, “a plaintiff’s

prima facie showing” of personal jurisdiction “must be ‘factually supported’; in other words, it

must ‘include an averment of facts that, if credited by [the ultimate trier of fact], would suffice to

establish jurisdiction over the defendant.’” Vasquez, 477 F. Supp. 3d at 250 (alteration in original)

(quoting Metro. Life Ins. Co. v. Robertson-Ceco Corp., 84 F.3d 560, 567 (2d Cir. 1996)). A




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plaintiff must demonstrate not only “a statutory basis for personal jurisdiction,” but also that “the

exercise of personal jurisdiction . . . comport[s] with constitutional due process principles.” In Re

LIBOR-Based Financial Instruments Antitrust Litig., — F.4th —, Nos. 17-1569 et al., 2021 WL

6143556, at *11 (2d Cir. Dec. 30, 2021).

       There are three traditional bases for the exercise of personal jurisdiction over a defendant.

First, a court may exercise general jurisdiction over a defendant that is “essentially at home in the

forum State.” Daimler AG v. Bauman, 571 U.S. 117, 119 (2014). Second, a court may exercise

“specific or conduct-linked jurisdiction” where there is a sufficient link between the defendant’s

conduct in the forum and the conduct at issue in the case. Sonera Holding B.V. v. Cukurova

Holding A.S., 750 F.3d 221, 225 (2d Cir. 2014). Third, a defendant can consent to the exercise of

personal jurisdiction. See J. McIntyre Mach., Ltd. v. Nicasto, 564 U.S. 873, 880 (2011) (plurality

opinion); D.H. Blair & Co. v. Gottdiener, 462 F.3d 95, 103 (2d Cir. 2006). Plaintiffs here rely on

Defendants’ conduct that the PSJVTA deems consent.

                                         III.   DISCUSSION

       I join my colleagues in concluding that the PSJVTA is unconstitutional, as applied to

Defendants, because I am bound by Second Circuit precedent holding that the PLO and PA are

entitled to constitutional due process. See Waldman I, 835 F.3d at 329. For purposes of

Defendants’ motion to dismiss for lack of personal jurisdiction, this case is essentially identical to

Fuld and Sokolow, the decisions in those cases lay out all of the parties’ arguments, and I will not

belabor the discussion. The PLO and PA admit that they made payments to the family of the 2002

suicide bomber that the PSJVTA deems consent to personal jurisdiction. Def. Mem. at 3. The

parties argue about whether the PLO and PA also meet the PSJVTA’s test for consent to

jurisdiction based on non-exempt (that is, non-U.N.-related) offices and activities in the United




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States. See Def. Mem. at 16–17; Pl. Opp. at 8. Defendants argue that, in all events, the factual

predicates under the PSJVTA are not sufficient to support the exercise of personal jurisdiction

under the Due Process Clause of the Fifth Amendment. I agree.

       Plaintiffs and the United States argue that due process requires only that consent to personal

jurisdiction be knowing and voluntary and, since the PLO and PA had notice of the PSJVTA and

chose to continue making martyr payments, the PLO and PA knowingly and voluntarily consented

to personal jurisdiction. See Pl. Opp. at 11–14; USA Mem. at 8–10. Plaintiffs and the United

States stress that a “variety of legal arrangements have been taken to represent . . . implied consent

to . . . personal jurisdiction.” Ins. Corp. of Ireland v. Compagnie des Bauxites de Guinee, 456 U.S.

694, 703 (1982); Pl. Opp. at 11–12; USA Mem. at 8. However, a court cannot imply a knowing

and voluntary consent to personal jurisdiction consistent with the Due Process Clause unless it is

reasonable to infer from the defendant’s conduct or the legal arrangement “an intention to submit”

to the forum. J. McIntyre, 564 U.S. at 881; see Int’l Shoe Co. v. Washington, 326 U.S. 310, 318

(1945) (for conduct to imply consent, the conduct must be “of such a nature as to justify the fiction”

that the party actually consented to submit itself to the jurisdiction of the court).

       As Judge Furman explained in Fuld, it is not reasonable to infer an intention to consent to

suit in U.S. courts from the factual predicates in the PSJVTA. Rather, Congress identified

“conduct in which the PLO and PA had previously engaged — conduct that the Second and D.C.

Circuits had held was insufficient to support personal jurisdiction in Waldman I and Shatsky I —

and declared that such conduct ‘shall be deemed’ to be consent.” Fuld at 14. Constitutional due

process requires more than notice and the opportunity to conform ones conduct for effective

consent to jurisdiction.




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       It is inconsistent with our constitutional system, however, to extend due process protections

to foreign governments. Our system leaves it to the political branches to decide how to deal with

foreign governments, including whether to protect them from suit in U.S. courts. See Frontera

Res. Azerbaijan Corp. v. State Oil Co. of Azerbaijan Republic, 582 F.3d 393, 399 (2d Cir. 2009)

(explaining that the Supreme Court has “[n]ever . . . suggested that foreign nations enjoy rights

derived from the Constitution,” and courts have instead “relied on principles of comity and

international law to protect foreign governments in the American legal system”) (quoting and

adopting the reasoning of Price v. Socialist People’s Libyan Arab Jamahiriya, 294 F.3d 82, 97–

99 (D.C. Cir. 2002)); Price, 294 F.3d at 99 (“[S]erious practical problems might arise were we to

hold that foreign states may cloak themselves in the protections of the Due Process Clause. For

example, the power of Congress and the President to freeze the assets of foreign nations, or to

impose economic sanctions on them, could be challenged as deprivations of property without due

process of law. The courts would be called upon to adjudicate these sensitive questions, which in

turn could tie the hands of the other branches as they sought to respond to foreign policy crises.

The Constitution does not command this.”).

       The Due Process Clause of the Fifth Amendment provides that “no person shall

be . . . deprived of life, liberty or property without due process of law.” U.S. Const. amend. V

(emphasis added). The PLO and PA are not persons for purposes of constitutional due process.

The Supreme Court long ago explained that “the word ‘person’ in the context of the Due Process

Clause of the Fifth Amendment cannot, by any reasonable mode of interpretation, be expanded to

encompass the States of the Union.” South Carolina v. Katzenbach, 383 U.S. 301, 323 (1966).

The Second Circuit then made the manifestly correct observation that it would make no sense to

place “foreign states . . . in a more favored position” than U.S. states. Frontera Res. Azerbaijan




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Corp., 582 F.3d at 399. Thus, “foreign states do not enjoy due process protections from the

exercise of the judicial power because foreign states, like U.S. states, are not ‘persons’ for the

purposes of the Due Process Clause.” Gater Assets Ltd. v. AO Moldovagaz, 2 F.4th 42, 49 (2d Cir.

2021). This reasoning should apply to the PLO and PA.

       By virtue of its decision in Waldman I, the Second Circuit precedent paradoxically places

the PLO and PA “in a more favored position” with respect to the safeguards of due process than

both U.S. states and foreign sovereigns with whom the political branches have established friendly

relations. Frontera Res. Azerbaijan Corp., 582 F.3d at 399. The Second Circuit concluded that,

because the executive has never recognized the PLO and PA as sovereign, they must therefore be

entitled to due process. See Waldman I, 835 F.3d at 329. In Livnat v. Palestinian Authority, the

D.C. Circuit squarely addressed the question whether the Due Process Clause applies to a foreign

government that is not recognized as a sovereign state. That court concluded that, unlike foreign

sovereigns, the Palestinian Authority is entitled to due process protections because “Price’s

primary rationales hinge on sovereignty.” 851 F.3d 45, 50 (D.C. Cir. 2017). I respectfully

disagree. Price explained that the Supreme Court has never suggested that our Constitution

protects “foreign nations” and that stretching the Due Process Clause to “protect foreign

governments” would create serious separation-of-powers problems in our constitutional system.

Price, 294 F.3d at 97–99 (emphasis added).

       Congress has the “power to define the jurisdiction of inferior federal courts,” subject only

to “other constitutional limitations.” Yakus v. United States, 321 U.S. 414, 443 (1944). As set

forth above, Congress has repeatedly enacted legislation that leaves no doubt about its intention to

define our jurisdiction to include ATA suits against the PLO and PA. Supra at 2–5. Yet the courts

have interceded to protect the PLO and PA from suit.




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         In Waldman I, the Second Circuit stressed that the “executive’s determination” not to

recognize the PLO and PA as sovereign “is conclusive,” citing Zivotofsky ex rel. Zivotofsky v.

Kerry, 576 U.S. 1, 17 (2015). Waldman I, 835 F.3d at 329. But that case underscores the authority

of the President, rather than the judgment of the “judicial department,” in foreign relations.

Zivotofsky, 576 U.S. at 18–19. The executive has, in the past, structured relations based on its

explicit understanding that the PLO and PA are not entitled to constitutional protections of any

kind. See Constitutionality of Closing the Palestine Information Office, an Affiliate of the

Palestine Liberation Organization, 11 Op. O.L.C. 104, 106 (Aug. 14, 1987) (“As noted, the starting

point of our analysis is that the PLO itself, as a foreign political entity, has no constitutional

rights.”). I think that understanding was correct.

         Nevertheless, I am bound by Second Circuit precedent holding that the PLO and PA are

entitled to due process protections. As such, I must conclude that the PSJVTA is unconstitutional

as applied to the PLO and PA, and I must grant Defendants’ motion to dismiss, without prejudice,

for lack of personal jurisdiction. Because the Court lacks jurisdiction, I cannot consider the merits

of Defendants’ summary judgment motion. See Waldman I, 835 F.3d at 344.

         Finally, I briefly address the Defendants’ outstanding motions to seal filings and strike

exhibits on the ground that they contain confidential government information and sensitive

personal information of non-parties. 2 In an Order dated December 6, 2021, the magistrate judge

observed that “Defendants may have indiscriminately designated entire documents, entire

deposition transcripts, and large portions of transcripts” for sealing [ECF No. 151]. Having

reviewed the unredacted materials, I do not believe the cited interests in confidentiality overcome



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 I note that the Court retains authority to rule on such collateral, docket-management questions even in the absence
of personal jurisdiction. I also note the irony of Defendants asserting their interest in maintaining the confidentiality
of government documents while cloaking themselves in the protections of the Due Process Clause.


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the “strong presumption in favor of public access” to judicial documents. Lugosch v. Pyramid Co.

of Onondaga, 435 F.3d 110, 126 (2d Cir. 2006).

                                      IV.    CONCLUSION

       For the reasons set forth above, Defendants’ motion to dismiss for lack of personal

jurisdiction [ECF No. 115] is GRANTED. Defendants’ motion for summary judgment [ECF No.

118] is DENIED as moot. All outstanding motions to seal filings and strike exhibits are DENIED

[ECF Nos. 137, 138, 142, 147, 158].

SO ORDERED.
                                                   _________________________________
Date: March 18, 2022                               MARY KAY VYSKOCIL
      New York, NY                                 United States District Judge




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